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      6                                                                 6
      7                             PLAINTIFF,
      8                                                                 a            INDEX TO EXHIBITS
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     17         DEPOSITION FOR THE DEFENDANT,                          17
     18           LAKEVIEW CENTER, INC.                                18
     19         d/b/a GULF COAST ENTERPRISES:                          19
     20
                                                                       20
     21     The Deposition of Chris Steven Slaughter, taken            21
     22   in the above-styled matter at Whonsetler & Johnson,
                                                                       22
     23   PLLC, 11901 Brinley Avenue, Louisville, Kentucky, on
                                                                       23
     24   the 29th day of October, 2014, beginning at 10:00 a.m.
                                                                       24
     25
                                                                       25

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     •1            APPEARANCES                                          1      DEPOSITION OF CHRIS STEVEN SLAUGHTER
      2                                                                 2            OCTOBER 29, 2014
      3   FOR THE PLAINTIFF, CHRIS SLAUGHTER:                           3 CHRIS STEVEN SLAUGHTER, called on behalf of
      4    MICHAEL L. BOYLAN, ESQUIRE                                   4 the Defendant, Lakeview Center, Inc. d/b/a Gulf
      5    THE BOYLAN LAW OFFICE                                        5 Coast Enterprises, after having first been duly
      6    807 West Market Street                                       6 sworn, is examined and testifies as follows:
      7    LOUISVILLE, KENTUCKY 40202                                   7 EXAMINATION
      8                                                                 8 BY MR. JOHNSON:
      9   FOR THE DEFENDANT, LAKEVIEW CENTER, INC.                      9   Q. Mr. Slaughter, my name is Craig Johnson.
     10   d/b/a GULF COAST ENTERPRISES:                                10 I represent Gulf Coast in the lawsuit that you have
     11    CRAIG L. JOHNSON, ESQUIRE                                   11 filed against them.
     12    WHONSETLER & JOHNSON, PLLC                                  12   We're here today to take your deposition.
     13    11901 Brinley Avenue                                        13 Have you ever given a deposition before today?
     14    LOUISVILLE, KENTUCKY 40243                                  14   A. Yes, sir.
     15                                                                15   Q. In what setting have you given a
     16                                                                16 deposition?
     17                                                                17   A. It was about nineteen-ninety -- I
     18                                                                18 mean, 1984 due to a car wreck.
     19                                                                19   Q. All right. Were you a party to that case,
     20                                                                20 or were you a witness?
     21                                                                21 A. I was a party.
     22                                                                22   Q. Were you the one injured in the car
     23                                                                23 wreck?
     24                                                                24   A. Yes, Sir.
    25                                                                 25   Q. All right. Have you given any other
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                                                                                                            EXHIBIT F
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      1 depositions?                                               1    number and date of birth are stated off the
      2  A. No, sir.                                               2    record.]
      3    Q. Have you given any other testimony?                  3    BY MR. JOHNSON:
      4    A. No, sir; not -- not that I recall.                   4     Q. Mr. Slaughter, did you give me your date
      5    Q. Okay. My purpose here today is to find               5    of birth and Social Security number while we were
      6   out about you, some background information, and          6    off the record?
      7   then about the claim that you have presented.            7     A. Yes, I did.
      8   You've indicated to me before we started that you        8     Q. Thank you. Your current address, please.
      9   have a hearing impairment, so I'm --                     9 A. It's 233 West Avenue, Apartment 3, Mount
     10   A. [nods head]                                         10 Washington, Kentucky 40047.
     11   Q. -- going to do my best to speak slowly so           11      Q. How long have you lived at that address?
     12 you can watch my lips, and also to speak loudly.         12      A. Right at four years, about four years and
     13   If at any time I ask you a question that you           13     a month.
     14 don't hear or that you don't understand, just stop       14      Q. Does anyone live with you there?
     15 me and say, "Craig, I didn't hear you or didn't          15      A. No,   sir.
     16 understand you. Could you please repeat it," and         16      Q. Has anyone lived with you the entire time
     17 I'll do so; okay?                                        17     you've been there?
     18   A. Yes, sir.                                           18      A. I get my son every other weekend.
     19  Q. If you'll make certain that all your                 19     Q. Okay. Where did you live prior to that
     20 answers are verbal? Stay away from the shaking            20   address?
     21 or nodding your head or the "uh-huhs" or the              21     A. I lived at 156 John Court, Mount
     22 "huh-uhs."                                                22    Washington 40047 before I divorced.
     23  I can see what your answer may be or hear                23     Q. All right. How long have you lived in
     24 what your answer may be now, but our court                24    Mount Washington?
     25 reporter is going to transcribe everything, and we        25     A. I've lived in Mount Washington since
                                                      Page 6                                                            Page 8
      1 want to make certain that we have everything down          1    2005, which would be, what, nine years.
      2   on the record accurately; okay?                          2     Q. Where did you live before moving to
      3    A. Yes, sir.                                            3    Mount Washington?
      4     Q. If you let me complete my question before           4     A. Before living in Mount Washington, I lived
      5   you start your answer, I'll allow you to complete        5    in Valley Station at 10812 Beatrice Way.
      6   your answer before I start my next question just,        6     Q. Okay. Are you originally from the Valley
      7   again, so there's only one of us speaking at a           7    Station area?
      8   time, which makes it easy on Ms. Rose Mary.              8     A. No, I'm from the south end.
      9    A. Yes.                                                 9      Q. Okay. Approximately how long did you
     10  Q. If you need to take a break at any time,              10    live in Valley Station?
     11 you let me know. I'll be happy to accommodate            11      A. I lived there about eight years.
     12 your request when we get to a -- a stopping spot          12      Q. And then prior to that, where did you
     13 within a question or two; okay?                           13    live?
     14    A. Okay.                                               14     A. I lived in the --
     15    Q. All right. If you could please state your           15     Q. And you can just give me the area of town
     16   full name for us.                                       16    or the city.
     17    A. My name is Chris Steven Slaughter.                  17     A. -- south end right off of Southside Drive.
     18    Q. Steven is a V or PH?                               18      Q. And how long did you live there?
     19    A. With a t-e-v-e-n.                                   19     A. For -- since I was 3.
     zo    Q. And your date of birth and Social Security          20     Q.   Okay. Where did you attend high school?
     21   number.                                                 21     A. Iroquois High School.
     22    MR. JOHNSON: And I'm going to ask                      22     Q. And did you graduate?
     23 Rose Mary not to put that on the record.                  23     A. Yes, sir.
     24    THE WITNESS: Okay.                                     24     Q. And what year?
     25 [WHEREUPON, Deponent's Social Security                    25     A. 1984.
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      1 Q. Do you have any additional schooling                  1    Q. Okay. What are their names?
      2 beyond high school?                                      2    A. Cassie and Carissa.
      3  A. I went to truck driving school, and I took           3    Q. Spell those for us again.
      4 welding in vocational school.                            4  A. C-a-s-s-i-e, Cassie; Carissa,
      5  Q. When did you go to truck driving school?             5 C-a-r-i-s-s-a.
      6  A. That would have been in September 2012.              6    Q. How old are they?
      7   Q. Do you have your CDL?                               7    A. 26.
      8  A. Yes, sir.                                            8    Q. Where do they live?
      9   Q. And did you get that in September of 12?            9     A. Carissa lives with her mother and Cassie
     10  A. Well, about October.                                10   lives in Simpsonville.
     11 Q. Okay. Is that the first time you had your            11    Q. Does Cassie work anywhere?
     12 CDL?                                                    12    A. Yes.
     3:3 A. Yes, sir.                                           13    Q. Where does she work?
     14   Q. All right. When did you attend the                 14    A. She works at Applebee's as a bartender.
     15 welding?                                                15    Q. Which one?
     16  A. I took it in 1982 until the time I                  16    A. On Bardstown Road in Fern Creek.
     17 graduated, but I never used it.                         17    Q. Okay. And then how about Carissa?
     18   Q. All right. Have you attended any other             18    A. Carissa works at Backyard Burgers on
     19 vocational school?                                      19   Bracken -- Blankenbaker, right there on
     20 A. I go to vocational rehabilitation for my             20   Blankenbaker.
     21 hearing impairment.                                     21    Q. Okay.
     22 Q. Okay. How about -- how about school,                 22    A. I don't believe it's Blankenbaker. It's off
     23 like, for welding or any other vocational activities?   23   Blankenbaker.
     24   A. No, I was -- I was wanting to.                     24    Q. I know where it is, just in the industrial
     25   Q. All right. Are you married?                        25   park.
                                                    Page 10                                                      Page 12
      1 A. No, divorced.                                         1 A. [nods head] Right.
      2    Q. Okay. How many occasions have you                  2    Q. Okay. All right. Who was your second
      3   been married?                                          3   wife?
      4    A. Twice.                                             4   A. Second wife, Brandi Michelle Steiger.
      5    Q. All right. What was your first wife's              5    Q. Spell "Steiger" for us.
      6   name?                                                  6    A. S-t-e-i-g-e-r.
      7    A. Lynn Michelle Fer --                               7    Q. And what period of time were you married
      8    Q. Lynn -- Lynn    --                                     to Ms. Steiger.
      9    A. Lynn Michelle Ferry [phonetic]                     9    A. I was mis -- married to Ms. Steiger, let
     10    Q. Approximately what period of time were            10   me see, 1996 to 2008.
     11   you married to Ms. Ferry'?                            11    Q. And where was that divorce filed?
     12    A. 1988 to 1995.                                     12    A. That divorce filed -- was in Bullitt
     13    Q. And where was that divorce filed, in              13   County.
     14   Jefferson County or Bullitt County?                   14    Q. Were any children born of your marriage
     15    A. Jefferson County.                                 15   to Ms. Steiger?
     16    Q. Do you know where Ms. Ferry lives now?            16    A. Yes. Yes, sir.
     17    A. She lives in Fern Creek. I don't know her         17    Q. How many?
     18   dre -- address.                                       18    A. Just one son.
     19    Q. Is her last name still "Ferry"?                   19    Q. All right. And what's his name?
     20    A. No, it's Masterson.                               20    A. C.
     21    Q. Were any children born of your marriage           21    Q. And is he a -- a "junior"?
     22   to Ms. Ferry?                                         22    A. No.
     23    A. Yes, sir.                                         23    Q. Okay.
     24    Q. Okay. What children?                              24    A. C.D.
     25    A. Twin daughters.                                   25    Q. How old is C.?
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     1     A. C. is 15.                                  1upholstery.
     2     Q. Where does he attend school?               2    Q. Oh, okay. Does he work for someone or
      3    A. Male.                                      3  does he do that --
      4    Q. Okay. Do you have any other children?       4  A. Yeah, he --
     5     A. No, sir; not that I know of.                5 Q. -- on his own?
      6    Q. Are your parents still living?              6 A. -- works for someone.
      7    A. My mother and a stepfather.                 7 Q. Okay. Is Allen married?
      8    Q. Okay. What's your mom's name?               8 A. No. No.
      9    A. My mother's name is Mary Rose Beeler.       9 Q. Divorced.
    10        THE REPORTER: I'm sorry. The last          10 A. Divorced.
    11    name --                                        11 Q. Okay. What was his wife's name?
    12        THE WITNESS: Mary Rose Beeler,             12   A. Linda. I don't know what her maiden
    13    B-e-e-l-e-r.                                   13 name is.
    14        THE REPORTER: Thank you.                   14   Q. Okay. Does Linda work anywhere, to your
    15    BY MR. JOHNSON:                                15 knowledge?
    16     Q. Okay. And where does Ms. Beeler live?      18 A. Not that I know. I -- I.. .
    17     A. They live at 253 Cammi Drive in            17   Q. And do you have any other brothers or
    18    Shepherdsville.                                18 sisters?
    19     Q. Okay. And what's her husband's name?       19   A. I have a lot of sisters; yes.
     20    A. Thomas.                                    20   Q. Okay. Who's next?
     21    Q. Does your mom work?                        21 A. My sister Debbie -- Debra.
     22    A. Yes.                                       22   Q. What's Debra's last name?
     23    Q. Where does she work?                       23 A.  Lewis.
     24    A. For Housing and Urban Department.          24   Q. Where does Debra live?
     25    Q. And where is she physically located?       25   A. I'm sorry?
                                               Page 14                                             Page 16
      1 where is her office?                              1 Q. Where does Debra live?
      2    A. At the Federal Building.                    2   A. She lives in Gainesville, Florida.
      3    Q. Downtown.                                   3   Q. All right. We won't hold that against her;
      4    A. Yes.                                        4 okay?
      5    Q. Here in Louisville.                         5   How long has she been in Gainesville?
      6    A. Yes.                                        6   A. She lived there and came back, and I -- I
      7    Q. What does she do for HUD?                   7 couldn't be specific.
      8    A. She is a financial analyst, I believe.      8 Q. Okay. Do you know what Debra does for
      9    Q. And how about your stepfather? Does he      9 a living?
     10   work anywhere?                                 10   A. She's a waitress.
     11    A. He's retired.                              11 Q. Okay. All right.
     12    Q. Where did he retire from?                  12   A. I think.
     13    A. Bryant-Burnett Heating & Cooling.          13   Q. Who's -- who's next?
     14    Q. All right. Do you have any brothers or     14   A. Then I have a stepsister named Regina.
     15   sisters?                                       15   Q. What's Regina's last name?
     16    A. Yes.                                       16   A. Her -- Carnell.
     17    Q. Who's the oldest in your family?           17   Q. C-a-r-n-e-I-1.
     18    A. My brother Allen.                          18   A. Yeah.
     19    Q. Is his last name Slaughter?                19   Q. Where's Regina live?
     20    A. Yes.                                            A. She lives off Weaver Run out in Valley
     21    Q. Where does Allen live?                     21 Station.
     22    A. Allen lives in PRP right there behind      22   Q. Does Regina work anywhere?
     23   Kmart on Dixie.                                23   A. Yes.
     24    Q. What does Allen do for a living?           24   Q. Where does she --
     25    A. He's an upholsterer -- upholsterer, does   25   A. Knob Creek Gun Club.
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      1    a   Fern Creek Gun Club.                           1    what papers.
      2    A. Knob.                                            2    A. Oh, it was one that I was -- I believe I
      3    Q. Knob Creek; okay. And what does she do           3   received from you --
      4   there?                                               4    Q. Okay.
      5    A. I couldn't tell you.                             5    A. -- the inter -- terrogatories.
      6    Q. Okay. Is Regina married?                         6    Q. The interrogatories; okay.
                                                               7    A. Okay. And then the suit itself.
      8    Q. What's her husband's name?                       8    Q. Okay. The complaint, the lawsuit.
      9    A. Thomas.                                          9    A. Yeah, the complaint.
     10    Q. What's Thomas do?                               10    Q. All right. Did you review anything else?
     11    A. He works over in Riverport at Balfour.          11    A. No.
     12    Q. Okay. Do you have any other brothers,           12    Q. All right. Is there anything that is
     13   sisters, half-brothers --                           13   prohibiting you from- answering my questions
     14    A. I have a --                                     14   today?
     15    Q. -- half-sisters?                                15    A. Not that I know of.
     16    A. -- a -- a half-sister --                        16    Q. Okay. You're not taking any medications
     17    0. Okay.                                           17   that would limit your ability to understand me and
     18    A. -- named Lori.                                  18   to give me accurate testimony.
     19     Q. L-o-r-i.                                       19    A. I don't believe so.
     20    A. Yes.                                            20    Q. Okay. All right. You talked about having
     21     Q. And what's Lori's last name?                   21   a hearing impairment. How long have you had that
     22    A. Harvey.                                         22   impairment?
     23     Q. And where does Lori live?                      23    A. I started losing my hearing probably
     24    A. Lori lives off Fegenbush.                       24   about 20 years old.
     95     Q. All right. Is Lori -- does Lori work           25    Q. And what brought that on?
                                                    Page 18                                              Page 20
      1 anywhere?                                              1 A. Hereditary.
      2  A. She's on disability.                               2  Q. Okay. Are there other members of your
      3  Q. Okay. Any other siblings that you have?            3 family that suffer from the same impairment?
      4  A. No.                                                4  A. Yes,
      5 [WHEREUPON, off-the-record remarks are                 5 Q. And who is that?
      6 made.]                                                 6  A. My mother, my brother, my grandfather,
      7 BY MR. JOHNSON:                                        7 my little sister Lou.
      8 Q. Okay. What did you do to prepare for                8 Q. Okay. Is -- does -- is Lori on disability
      9 your deposition today?                                 9 because of her hearing impairment?
     10  A. Not much I had to do. I just thought I had        10  A. Several, several disabilities.
     11 to answer questions.                                  11 Q. Okay. What other disabilities does she
     12   Q. Okay. Did you review any documents to            12 have?
     13 prepare for today?                                    13  A. She was born with a cleft palate. She
     14  A. I looked over my suit.                            14 had numerous birth defects.
     15   Q. Okay. And when you say you looked over           15  Q. Okay. And then you mentioned Allen has
     16 your "suit," tell me what -- what it was that you     16 a hearing impairment, as well.

     17 looked over.                                          17  A. Yes, he was born with his.
     18   A. I just looked over, you know, the                18  Q. And then your mom --
     19 specifics of, you know, why -- why I'm suing.         19  A. My mom.
     20   Q. Okay. What was it that you looked at?            20  Q. -- does she have one, as well?
     21 A. Just a -- you know — you know, my                  21 A. Yes.
     22 hearing impairment and the problems, you know,        22  Q. Okay. Was your hearing normal up until
     23 why.                                                  23 about age 20?
     24   Q. Okay. And -- and I'm trying to figure out        24  A. Yeah, I believe so.
     25 what -- what paper it was that you looked at or       25    a  All right. And was there any precipitating
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      1 event    that caused you to start losing your hearing?       1 Q. Okay. Why did you get new hearing aids
      2   A. I was in a car wreck in 1984, and — but                 2 in about 2011?
       3 they never checked my hearing. And it was a head            3  A. They were better.
       4 injury to my right side.                                    4   Q. Okay. Had something changed in your
       5 Q. Did you begin to lose your hearing after                 5 condition that required you to get new hearing
       6 that?                                                       6 aids?
       7   A. I -- to be specific, I -- I really can't tell          7  A. Yeah, the old ones weren't strong
       8 you, you know.                                              8 enough.
       9 Q. Okay.                                                    9   Q. Okay. Tell me about hearing aids. Give
     10 A. I just know it's gotten worse.                          10 me a little education. What -- what's your
     11 Q. All right. Tell me about your hearing                   11 understanding of how it works and how it helps you
     12 impairment. Do you wear hearing aids?                      12 to hear better? Is -- are there different settings
     1-3   A. Yes, sir.                                            1-3—that you-can-make-on your aid?
     14    Q. Do you wear those all the time?                      14   A. They can program them to kind of — for
     15 A. Yes.                                                    15 your surroundings, for -- you know, if you're in
     16    Q. All right. What is -- do you know what               16 quiet setting, loud setting, you know. I'm new to
     17 the level of your hearing impairment is?                   17 wearing hearing aids. I haven't wore hearing aids.
     18 A. I know they told me I have high-frequency               18 First time, you know, that I got hearing aids was
     19 hearing loss. It's nerve deafness.                         19 2003, so at that time my hearing wasn't as bad.
     20 Q. Okay. Are you able to hear if you don't                 20   Q. Okay. When you say they can be
     21 have your hearing devices in?                              21 programmed, do you program them or does the
     22    A. Yes.                                                 22 audiologist program them?
     23    Q. What does that do to your ability to hear            23   A. The audiologist.
     24 if you don't have your devices in?                         74 Q. All right. Are you able to -- to control
     25    A. If I'm in a quiet setting, like a doctor's           25 them at all?

                                                       Page 22                                                  Page 24
      1 office or a — a dentist's office, you know, where --        1 A. I can turn them up and down.
      2 where the maybe a receptionist speaks soft, I               2   Q. Okay.
      3 might hear everything you say. I might not be able          3 [WHEREUPON, off-the-record remarks are
      4 to hear what she says. It all depends on the base           4 made.]
      5 of your voice.                                              5 BY MR. JOHNSON:
      6 Q. Okay. What if it's not in a quiet setting?               6   Q. And when you say you can turn them up
      7 A. It's — it's — it's really not something you              7 and down, just the volume.
      8 can pinpoint, you know. It's -- it's just sometimes         8  A. Yes.
      9 I -- I can -- might be able to hear you.                    9   Q. Have you seen any facility other than
     10 Q. Okay. Who do you go to for your hearing                 10 Hear in Kentucky and Avada?
     11 impairment?                                                11 A. No.
     12 A. Avado [sic] Avado Hearing & Balance.                    12   Q. Okay. Have you ever seen any doctor for
     13    Q. And I -- they may have several offices.              13 your hearing impairment?
     14 Which one do you --                                        14  A. No.
     15 A. On Bre on Blankenbaker.                                 15 Q. Who originally referred you to Hear in
     16    Q. Okay. How long have you gone to that                 16 Kentucky?
     17 office?                                                    17  A. Myself.
     18    A. Probably since 2011, and before that I               18  a Okay. Has anyone told you the degree of
     19 went to Hear in Kentucky.                                  19 hearing loss that you have?
     20    Q. And where was their office located?                  20  A. Yes.
     21 A. Valley Station.                                         21 a Okay. And -- and what have they
     22    Q. And why did you switch?                              22 described for you?
     23    A. I received new hearing aids through                  23  A. That I have a high-frequency hearing
     24 vocational rehabilitation, and that's where they           24 loss.
     25 sent me.                                                   25  Q. Okay. And is that what they told you at
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      1 Hear in Kentucky?                                      1 Q. Lear.
      2   A. Probably both.                                    2   A. Lear, L-e-a-r a-r L-e-a-r.
      3   Q. And -- and at Avada.                              3   Q. Did you file a workers' compensation
      4   A. Yes.                                              4 claim against them?
      5   Q. Okay. Who -- who's the audiologist you            5   A. Yes.
      6 see currently?                                         6   Q. Okay. And was that claim filed in
      7 A. Mike Mullin.                                        7 Kentucky?
      8 Q. Okay. And how long do you see — how                 8   A. Yes.
      9 frequently do you see him?                             9   Q. How did that injury occur?
     10 A. About every six months.                            10   A. I picked something up out of a bin, a -- a
     11 Q. Okay. Do you have any other                        11 track -- a seat track. And I had to -- I did scrap.
     12 impairments or disabilities other than your hearing 12 And when I pulled it up, it was about chest level,
     13 impairment?                                           13 and I thought I pulled a muscle. And down the
     14   A. I have a rotator cuff tear.                      14 road it was determined I had a torn rotator cuff.
     15 Q. Okay.                                              15   Q. Okay. Do you have any other
     16   A. Its irreparable.                                 16 impairments or disabilities?
     17 Q. Right side or left?                                17 A. No.
     18   A. Right.                                           18 Q. With respect to the rotator cuff injury, did
     19 Q. And when did that occur?                           19 you actually have to file a workers' compensation
     20   A. 2004 the first time, I believe. 2002. I          20 claim?
     21 can't be specific.                                    21 A. Yes.
     22   Q. All right. And how did that occur?               22 Q. Did -- did you get an attorney to help you
     23   A. Work.                                            23 with that?
     24 Q. Has -- has any physician told you that             24   A. No, they -- they paid for it --
     25 you are disabled as a result of that rotator cuff     25 Q. Okay.
                                                      Page 26                                                    Page 28
      1   tear?                                                 1. A. -- but I did get an attorney down the
      2    A. I have a percentage of disability.                2 road.
      3    Q. Okay. And what percentage is that?               3   Q. Okay. Did you give a deposition in --
      4    A. 11.                                              4 A. No.
      5    Q. Okay. And who assigned that percentage           5 Q. -- in the workers comp case?
      6   to you?                                              6   A. No.
      7    A. That is Dr. Gladstein.                           7 Q. Then you mentioned that you also filed a
      8    Q. All right. Was he the orthopedic surgeon         8 lawsuit with respect to an automobile accident.
      9   that --                                              9 A. Yes.
     10    A. No.                                             10 Q. And you believe that was in approximately
     11    Q. Okay.                                           11 when?
     12    A. Dr. Loeb.                                       12   A. 1984.
     13    Q. Tom Loeb.                                       13   Q. And was that case filed in -- in Jefferson
     14    A. Yeah.                                           14 County?
     15    Q. Did he do the surgery?                          15 A. Yes.
     16    A. Two of them.                                    16   Q. Was that case settled?
     17    Q. Okay.                                           17   A. Yes.
     18    Q. Is Dr. Gladstein the workers' comp              18 Q. Okay. Have you filed any other lawsuits
     19   doctor?                                             19 other than that one and this one?
     20    A. Yeah.                                           20   A. No, sir.
     21    Q. Okay.                                           21 Q. Have you filed any claims; meaning you
     22    A. Yes. I'm sorry.                                 22 were seeking some type of damages but the case
     23    Q. That's all right. Where were you working        23 settled before a suit was filed?
     24   at the time you had that claim?                     24 A. With my rotator cuff, I filed for the
     25    A. Lear Corporation.                               25 percentage of disability, and they prorate it.

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                                                   Page 29                                                   Page 31
      1 Q. And -- and that was for workers'                  Q. Who helped you with that?
                                                               1

      2 compensation.                                    2   A.   My mother.
      3   A. Yes, sir.                                   3   Q.   Okay. Is that something that your mom
      4   Q. Okay. All right. And you've only filed      4  had  knowledge      about?
      5 that one workers compensation claim against      5   A.   Yes.
      6 Lear.                                            6   Q. Where did she obtain that knowledge?
      7   A. Yes but the had to fix it. They went        7   A. From her own -- from her own problems
      8 back to -- I had two surgeries.                  8 with her hearing.
      9   Q. Okay.                                       9   Q.  Okay. Has -- has your mom filed EEOC
     10   A. So it would have been -- same claim, I     10  complaints?
     11 guess, that --                                  11 A. I can't tell you if she has.
     12   Q. Okay. You may have had to reopen the       12   Q. All right. Tell me what you recall about
     13 claim.                                          13 your   conversations-with MrAnderson.
     14   A. Right.                                     14   A.   I just described some problems that I
     15   Q. Okay.                                      15  had.  And   at that time he just said, you know, that
     16   A. Right.                                     16  they were    a company that hired people with
     17   Q. All right. Same injury, same claim.        17  disabilities, and that, you know, that would be the
     18   A. Right.                                     18  turning  point.
     19   Q. All right. And that's been the only        19   Q. All right. Did he tell you anything else?
     20 workers' comp claim that you've filed.          20   A.   No, not that I recall.
     21   A. Right.                                     21   Q.    Have you ever filed any other EEOC
     22   Q. Only lawsuits that you have filed were for 22 complaints?
     23 the auto accident in 84 and this case.          23   A. No.
     24   A. This one right here.                       24    Q. Okay. Have you ever filed for
     25   Q. All right. And no other claims that were   25 unemployment         benefits?
                                                Page 30                                                      Page 32
      1  settled prior to suit that you're aware of.            1   A. Yes.
      2   A. Not that I recall.                                 2   Q. On how many different occasions?
      3   Q. All right. I know that you filed an EEOC           3   A. We would get laid at Lear weeks, months
      4 claim against Gulf Coast.                               4 at a time, and I can't tell you specifically how
      5   A. Yes, I did.                                        5 many. And I filed one after Gulf Coast.
      6   Q. Okay. And the EEO -- well, what's your             6   Q. Okay. Was Lear seasonal work?
      7 understanding of what the EEOC found?                   7   A. No, its just with Ford not selling
      8   A. Say -- please say it again.                        8 vehicles, you know, we shut down because of
      9   Q. Sure. What's your understanding of what            9 them.
     10 the EEO -- EEOC concluded regarding your claim?        10   Q.   Okay. And then they would lay you off,
     11 A. The EEOC said that Gulf Coast hired                 11 and you'd file for unemployment.
     12 people with disabilities, and that -- you know, that   12  A. Yeah.
     13 I would have to take it upon myself.                   13  Q. Would you always receive it every time
     14   Q. Is it your understanding that the EEOC            14 you filed --
     15   did not substantiate your claim?                     15  A. Yes.
     16    A. Yes.                                             16  Q. -- while with Lear?
     17    Q. Do you remember who you spoke with at            17  A. Yes.
     18   the EEOC?                                            18  Q. Okay. Did you file for unemployment with
     19    A. Allen Anderson.                                  19 any other employer than Lear and Gulf Coast?
     20    Q. On how many occasions did you speak              20  A. Not that I recall.
     21   with Mr. Anderson?                                   21 Q. Okay. And did you receive unemployment
     22    A. Oh, four or five.                                22 when you filed with Gulf Coast?
     23    Q. Okay. Did he assist you in preparing             23  A. Yes, I did, after I went in an appeals
     24   your charge or your complaint with the EEOC?         24 hearing.
     25    A. No.                                              25   Q.   Okay. Do you recall what amount you
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      1received?                                                  1     Q. Okay. Tell me about those.
      2  A. About -- let's see, about six, seven              2         A. I was charged with drunk driving.
      3 month's worth.                                        3         Q. Okay. And where was that?
      4  Q. Six to seven months.                              4         A. That was in Jefferson County.
      5  A. Worth of unemployment.                            5         Q. Approximately what year?
      6  Q. And how often would you get a check?              6         A. 2009. It was dismissed.
      7  A. Every two weeks.                                  7         Q. Okay. And was that the first offense?
      8 Q. And do you know what the amount of the             8        A. Yes.
      9 check would be when you would get it?                 9        Q. Okay. And do you know why it was
     10 A. It would be 415 a week minus my child            10 dismissed?
     11 support, $100.                                      11 A. Yes, I went to the diversion.
     12 Q. Okay. So would it be 830?                        12 Q. Okay. All right. Any other --
     13 A. About 800 -- no, it would only be                -13  A. And -- and in 2010, rny exwife took a a
     14 about 630 or something.                             14 DVO out, which never was physical. And she text

     15 Q. Okay. Because there would be $200                15 me and called me, and I text her back once. And
     16 taken off --                                        16 she went down and said I text her back.
     17  A. Coming out.                                     17   So I pleaded guilty to texting her, so and they
     18  Q. -- for child support.                           18 charged me with violating a DVO.
     19  A. Yes.                                            19   Q. What county was that in?
     20  Q. Okay. Were there child support payments 20 A. That is Jefferson County.
     21 being withdrawn from your check at Gulf Coast? 21 Q. Why did she originally take out the
     22  A. No, I paid it on my own.                        22 domestic violence order against you?
     23  Q. Okay. And why did child support come             23  A. We divorced, and she -- she wanted to
     24 out of your unemployment?                            24 keep trying to make it work. And it just got to be
     25  A. At Lear I had it where it'd come out of my       25 one game after another, so we didn't -- never been

                                                    Page 34                                                    Page 36
      1check. And so when I was on unemployment, it               1physical,     just arguments.
      2  automatically came out. So I didn't have to bother       2  Q. Did she ever allege any physical acts
      3 paying.                                                   3 against you?

      4   Q. All right. And were you under a court                4  A. No, sir.
      5   order to pay child support?                                Q. Okay. It was just all arguments.
      6  A. Yeah.                                                 6  A. Arguments only.
      7 Q. And was that out of Bullitt County?                    7  Q. And which wife would that have been?
      8  A. I've had to pay child support on my twins             8 A. That's Brandi.
      9 before and my son --                                       9     Q. Okay. And what's Brandi's last name
     10 Q. Okay.                                                 10     now?
     11 A. -- so two different counties.                         11  A. Chamberlain.
     12 Q. And I -- I assume child support that was              12  Q. Has she remarried?
     13   taken out of your unemployment was for your son.       13  A. Yes.
     14    A. Yes, for both. You know, up to their right         14      aAnd do you know when you pled guilty to
     15 age. That's when --                                      15 the -- violating the DVO, what --
     16    Q. Right.                                             16  A. Yeah, I had text her.
     17    A. Okay.                                              17  Q. Okay. Was -- was that a misdemeanor or
     18    Q. Okay. And have you had any criminal                18 a felony?
     19   actions filed against you at all?                      19  A. Misdemeanor.
     20    A. You mean "filed," explain what you.. .             20  Q. Okay. And that was in Jefferson County.
     21    Q. Whether any charges have been filed                21 A. Yes.
     22   against you.                                           22 Q Okay. Any other criminal charges or
     23    A. Yes.                                               23 complaints filed against you?
     24    Q. Okay. On how many different occasions?             24  A. I was arrested in 1986 for PI, public
     25    A. Just a couple.                                      25    intoxication.
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      1 Q. And where was that?                                1    you did for Virgin Auto Parts.
      2  A. That was Iroquois Park, Jefferson County.          2    A. I delivered parts and sold parts.
      3  Q. Jefferson County. And did you plead                3    Q. And where was that located?
      4 guilty on that.                                        4    A. Fairdale.
      5  A. Yes, I paid a fine.                                5    Q. And were you still in school at that time?
      6  Q. Okay. Any others?                                  6     A. Yes. And then I graduated, and I worked
      7        A. No, sir; not that I recall.                  7   for them until November, from May to November
      8 Q. All right. Do you belong to any clubs,              8   after I graduated.
      9 groups, organizations, or churches?                    9     Q. All right. And do you recall what your
     10   A. No, not that I recall that I do.                 10   salary was or hourly -- hourly rate was with them?
     11        a
               Okay.                                          11     A. Yeah, and I think I made about $4 an
     12   A. A union, United Auto Workers Union I --          12   hour.
     13 Q. All right.
      -                                                       13    Q. Okay. And then you went-to-be D.J.
     14   A. -- belong to.                                    14   Incorporated. And --
     15 Q. And which one?                                     15    A. It's injection molding.
     16   A. 47-3.                                            16    Q. And how long did you work for them?
     17      THE REPORTER: I'm sorry. Forty --                17    A. I worked there for three years -- about
     18      THE WITNESS: 47-3.                                8   three and a half years.
     19      THE REPORTER: Thank you.                         19    Q. All right. So about 84 to somewhere
     20 BY MR. JOHNSON:                                       20   in 88.
     21   Q. And how long have you been a member of           21    A. 84 to 1988.
     22 the UAW?                                              22    Q. Okay. And what did you do for them?
     23   A. I had been for over 20 years and 7               23    A. I was a molder.
     24 months.                                               24    Q. Okay. Tell me what that means.
     25   Q. Okay. And are you still a member there           25    A. I ran injection molding machines. I made
                                                 Page 38                                                      Page 40
      1now?                                                    1 plastic parts.
          2  A. No, no.                                        2   Q. All right. And where was D.J.

          5 Q. When did that expire?                           9 Incorporated located?
          4  A. December 2010.                                 4   A. Fairdale.
          5 Q. Okay. Let's talk about your employment          5
                                                               6 A     Aoll. right. Is it still in business?
                                                                   Q.. N
          6   history.
        A. Okay. I was 16, I worked for Virgin Auto
          7                                                    7     Q. All right. Who was your supervisor
      8 Parts.                                                 8   there?
      9 Q. Say it again.                                        9 A. Mark Dell.
     10 A. Virgin Auto Parts.                                 10 Q. And did you work full time there?
                                                                                                  -


     11 Q. All right.                                         11 A. Yes, full time.-


     12 A. Then I went to D.J. Incorporated; then I           12     Q. And what was your rate of pay or salary
     13 went to Fortune Plastics; and then I went to Lear     13 there?
     14 Corporation.                                                          de 6.65, I believe, when I left, $6.65,
     15 a All right.                                                 beli
                                                              1154 I Ae ivea
                                                                          m.
     16   A. From there I went to Gulf Coast.                 16     Q. Okay. All right.
     17   a All right. After Gulf Coast, where did you        17     A. A long time.
     18 go?                                                   18 Q. And then you went to Fortune Plastics.
     19   A. I went to work for Zachry Holdings, and at       19     A. Yes.
     zo this time I'm unemployed.                             20     Q. Why did you leave D.J. Incorporated?
     21 Q. All right. All right. Approximately what           91 A. Fortune Plastics paid more.

     22 period of time did you work for Virgin Auto Parts?    22     Q. All right. Did you leave D.J. Incorporated
     23   A. I worked for Virgin Auto Parts from 1983         23 on your own?
     24 to 1984. I worked -- then I went from there to D.J.   24     A. D.J. Incorporated, I was training a guy on
     25   Q. Okay. Hang on one second. Tell me what           25 third shift. I was responsible for training, and a

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      1 mold got damage. And they fired me on Friday              1 Q. Did anybody ask you to leave?
      2 the 13th, 1988. I was responsible for him.                 2     A. No.
      3   Q. Okay. And why did they fire you?                      3     Q. All right. And when did you begin
      4   A. I was responsible for someone I was                   4    working for Lear?
      5 training, and a mold got damaged.                          5     A. I started working for Lear in --
      6   Q. Did he damage the mold or did you?                    6    May 7th, 1990.
      7   A. The mold got damaged.                                 7     Q. So were you off about three months in
      8 Q. How did the mold get damaged?                          - 8   between Fortune and
      9   A. Well, parts get stuck in it. And it's soft            9     A. Yes.
     10 metal. And you take a brass rod and kind of chip          10     Q. -- Lear?
     11 it out; but some injection pins got damaged, and it       11     A. Yes, I was.
     12 was a mold that they had been trying to get right         12      Q. Did you draw unemployment during that
     13 for a while.                                              13    time?
     14     Q. All right. So -- so you didn't leave D.J.          14     A. No.
     15    for Fortune because Fortune paid more. You             15     Q. Okay. And how long did you work for
     16    left --                                                16    Lear?
     17     A. No. Right.                                         17     A. I worked for Lear for 20 years and 7
     18     Q.    D.J, because --                                 18    months.
     19     A. Right.                                             19     Q. So through December of 10.
     20     Q. -- you got --                                      20     A. De -- December the 16th, 2010.
     21     A. Right.                                             21     Q. And what position did you have at Lear?
     22     Q. -- fired.                                          22      A. I had numerous positions. I started
     23     A. Right, been a long time.                           23    material handling. I went to assembly. I went
     24     Q. When did you start working for Fortune?            24    back to material handling. And the last ten I
     25     A. Fortune, I worked for them that month,             25    finished as a quality control inspector.
                                                      Page 42                                                       Page 44
      1 the first of June, two weeks later.                        1 Q.         Who was your supervisor at the time you
      2   Q. June of 88.                                           2    left?
      3   A. Yes.                                                  3 A. I've had numerous -- oh, the time I left?
      4   Q. Through when.                                         4 Mike Ferree.
      5   A. I'm sorry.                                            5   Q. Mike Free.
      6   Q. Through when.                                         6 A. Mike Ferree, F-e-r-r-e-e.
      7   A. Until February 1990.                                  7     Q. And what was your rate of pay at the time
      8   Q. And what did you do for Fortune Plastics?             8    you left?
      9   A. I was a material handler.                             9 A. 19.81 an hour.
     10 Q. And what was your pay there?                           10   Q. And where is Lear located?
     11 A. 7.50 an hour.                                          11 A. Lear's located at 2000 Stanley Gault,
     12 Q. And did you work full-time?                            12 right down the road.
     13   A. Yes.                                                 13     Q. All right. And why did you leave Lear in
     14   Q. Who was your supervisor there?                       14    December of '10?
     15 A. Dave McQueen.                                          15     A. Plant closure.
     16 Q.      And why did you leave Fortune?                    16 Q.     Did you have any issues with your hearing
     17   A. I -- I left Fortune -- I worked 8 at night           17    impairment while working at Lear?
     18 to 8 in the morning, three days off, three days.          18 A. No, I did not. They accommodated me.
     19 And I watched my children in the morning when I           19  Q. Okay. And how did they accommodate
     20 got off work, you know, on the days that I worked.        20    you?
     21 And it got to be too much. And I was on -- like I         21     A. They knew I was hearing impaired, and
     22 said, working nights, and I resigned.                     22    they always made sure -- they went out of their
      23    Q. Okay. So you left that position                    23    way to ask people, you know, to make sure I heard
     24    voluntarily.                                           24    the directions and watch out for me. "Make sure
     25     A. Yes.                                               25    you tell Chris -- make sure he hears what" -- you
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      1    know.                                                   1     A. Zachry Holdings.
      9
            Q. Okay.                                               2     Q.   When did you begin working there?
      3     A. They treated me very well.                          3     A. 1/28/13.
      4     Q. All right. All right. After you left Lear, I        4     Q. And where are they located?
      5    know that you went to work for Gulf Coast.              5     A. They are in San Antonio, Texas.
       6    A. Yes.                                                6     Q.   What type of business are they?
      7     Q. And -- and when did you start with Gulf             7     A. Construction.
       8   Coast?                                                  8     Q. Where did you physically work?
       9    A. I started with Gulf Coast 11/1/11.                  9     A. I physically worked at Mill Creek at the
     10     Q. Okay. What did you do for approximately            10    LG&E plant in Valley Station.
     11    those 10 or 11 months after you left Lear and --       11     Q. How long were you employed by Zachry?
     12     A. I looked for work.                                 12     A. Eighteen months.
            Q. Okay. Did you-draw unemployment-during             1-3    Q. When-was your-last day there?
     14    that period of time?                                   14     A. My last day was July 31st, 2014.
     15     A. Yes, I did.                                        15     Q. And why was that your last day?
     16     Q. Okay. And do you recall any of the other           16     A. I quit. I resigned.
     17    places that you looked other than Gulf Coast?          17     Q. Ask why did you resign?
     18     A. Now, say it again, please.                         18     A. I worked 7 days/12 hours one week; 6
     19     Q. Sure. Do you recall any of the places              19    days/12 hours the next week. And it got to be too
     20    where you looked for work other than Gulf Coast?       20    many hours.
     21     A. Do I recall them?                                  21     Q. So you'd have one day off every two
     22     Q. Yes, sir.                                          22    weeks.
      23    A. Several of them: Ford, General Electric,           23     A. Yes.
      24   Brown-Forman, Jim Beam. All -- I -- I applied for      24     Q. What was your rate of pay there?
      25   so many, a couple a day.                               25     A. My rate of pay? When I left it was 23,
                                                        Page 46                                                        Page 48
       1    Q. Okay. All right. How did you eventually             1    but I started at 16 an hour.
       2   land with Gulf Coast?                                    2     Q. How long was your pay 16 an hour before
       3    A. Vocational rehabilitation.                           3   you received an increase?
       4    Q. Okay. And was that the -- the state                  4    A. 16.10.
       5   vocational rehabilitation?                               5    Q. Okay. How long was it 16.10 before you
       6    A. Yes, sir.                                            6   received an increase?
       7    Q.     And where did you go for that?                        A. Two months they gave me a raise.
       8     A. I went to Shepherdsville. Ebony Williams            8    Q. Okay. And what was that raise?
       9   is my counselor.                                         9    A. 18.40.
      10     Q. Okay. So did Ms. Williams assist you in           10     Q. Where -- how long did you have that?
      11   finding the -- the position at Gulf Coast?             11     A. And then about three months they took me
      12    A. Yes. Yes, she did.                                 12    to 20.
      13    Q. Did she try to assist you in finding               13     Q. Okay. How long were you at 20?
      14   employment at other locations, as well?                14     A. I was at 20 until about seven months,
      15    A. Yes.                                               15    maybe, and they give me a $1 raise. I went to 21.
      16    Q. All right. We'll come back to Gulf Coast           16     Q. Okay. And then how long at 21?
      17   in a minute; okay?                                     17     A. 21 for about five months, and then they
      18    A. Okay.                                              18    took -- gave me a $2 hour, and it took me to 23.
      19    Q. After you left Gulf Coast -- I believe your        19     Q. And how long were you at 23?
      20   last day there was July 9, 2012.                       20     A. About three months.
      21    A. 7/9/12.                                            21     Q.   Okay.
      22    Q. Yes.                                               22     A. And I'm. . .
      23    A. Yes.                                               23     Q.   And did you -- I'm sorry. Go ahead.
      24  Q. You mentioned that you worked for Zachry 24 A. Not being specific, you know. I don't
     25 Holdings?                                      25 know exactly.

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      1    Q. Just approximates.                                1      Q. What were you actually doing for Zachry?
      2    A. Approximate, right.                               2      A. I started in concrete. I was a concrete
       3   Q. Did you have other benefits there, as             3    finisher; did that about a month. They moved me
       4 well?                                                  4    to carpentry. I did that for about two months, and
       5   A. No.                                               5    they moved me to equipment operator.
       6   Q. Okay. No health insurance.                         6     Q. What kind of equipment?
       7   A. No.                                               7     A. I'm sorry.
       8   Q. Okay. Any vacation time?                          a     Q. What kind of equipment?
       9   A. Yes, you get vacation time.                        9    A. I drove for them. I drove a school bus, a
      10   Q. Okay.                                            10    water truck, a fuel truck. That's -- I said school
      11   A. And -- and I said benefits meaning               11    bus; didn't I?
      12 insurance --                                          12     Q. Yeah.
     -13- Q Okay,T                                             -1
                                                                -3    A. And a -- a road sweeper.
      14   A. -- and paid holidays, which you didn't           14     Q. And how long did you do that?
      15 get.                                                  15     A. I did that for about a year and three
      16   Q. Okay. And if you had not resigned that           16    months, approximate.
      17 position at the end of July of this year, to your     17     Q. Okay. Is that what you were doing at the
      18 knowledge, would you still be working there?          18    time you left?
      19   A. Yes.                                             19      A. Yes. Yes.
      20   Q. Okay. And they still had plenty of work          20     Q. Okay. Why did they move you from
      21 and -- you weren't intending to --                    21    concrete to carpentry?
      27   A. Plenty of work. It -- it is a project. It's,     22     A. Something I had a little bit more -- I had
      23 like, a six-year project, you know.                   23    experience in, you know, concrete. I had done a
      24   Q. Okay. How far along were they into the           24    little bit of it, not a lot.
      25 project?                                              25       Q. Why did they move you from carpentry to
                                                     Page 50                                                 Page 52
      1 A. About three years in.                                1 equipment operator?
      2    Q. Okay. Who was your supervisor when you            2    A. I was having -- they have Hispanics. And
      3   left?                                                 3 it is -- they have an accent, and I was having
      4    A. When I left, Louis Bazan.                         4 trouble hearing them.

           Q. Do you know how to spell his last name?           5    So they put me -- the -- my supervisor in
      6    A. I'm sorry.                                        6 concrete was Hispanic, and I was having trouble
      7  Q. Do you know how to spell his last name?             7 understanding him. So they moved me with an
      8 A. Yeah, B-a-z-a-n.                                     8 American man, Bobby Overton, but that's why they
      9  Q. Was he the only supervisor you had --               9 moved me.
     10 A. No.                                                 10 Q. Okay. Did -- did you then have issues
     11 Q. -- at Zachry?                                       11 with yourhearing impairment at Zachry?
     12  A. No. I had numerous are supervisors.                12    A. I'm sorry.
     13  Q. How long was Mr. Bazan your supervisor?            13    Q. It sounds as if you had issues with your
     14  A. Everybody's your supervisor that is a              14 hearing impairment at Zachry in understanding
     15 supervisor, you know. So you're working in             15 some of the individuals you worked with.
     16   different areas, so   --                             16    A. Yeah, hearing. Yeah, being able to hear.
     17    Q. Okay.                                            17    Q. Okay.
     18    A. -- you have numerous supervisors.                18    A. Hearing people with an accent.
     19    Q. If you had to -- excuse me -- report to          19    Q. Did vocational rehab help you find the
     20   somebody     --                                      zo position with Zachry?
     21    A. Louis.                                           21     A. I found it myself, but they did give me
     22    Q. -- it would be Mr. -- Mr. Bazan.                 22 paperwork so they got a tax break.
     23    A. [nods head]                                      23  Q. Okay.
     24    Q. All right. Does he still work there?             24  A. They treated me very well.
     25    A. Yes.                                             25 Q. You're talking about Zachry or vocational

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                                                           Page 53                                                      Page 55
      1 rehab?                                                         1 A. I think it was 10.80, or something like
      2      A. Zachry.                                                2 that, an hour.
      3      Q. Okay. Can you list for me what-all                     3    Q. When were you offered that job?
      4     positions you applied for after you left Gulf Coast        4    A. Within that seven months that I was off
      5    in July of 2012?                                            5   work due to Gulf Coast -- after Gulf Coast.
      6      A. I applied for numerous. I could not tell               6  Q. Do you have any documents which would
       7you.                                                           7reflect when that job offer was made? Did
          Q. Okay -       the ones for me that you do                  8 somebody send you an email or.-..
      9 recall.                                                        9   A. Now that I -- now that you ask me, I was
     10 A. Name one that I did.                                       10 already working at Zachry when they offered me
     11 Q. List -- list all the ones you do recall.                   11 the job. And they told me at that time -- I asked
     12 A. I applied for -- what's the name of the                    12 her the rate of pay, and she said it would -- I
     13  place? They do survey -- underground surveying                  wouldn't-never-make-that kind of money at that--
     14 out here in Bluegrass Industrial Park. I -- I can't           14 at the Highway Department, so I stayed at Zachry.
     15 tell you specifically.                                        15 Q. Okay. So the state did not offer your job
     16   I applied for CSX. I applied for the                        16   prior to you working for Zachry.
     17 distilleries. I applied for some jobs at Fort Knox.           17    A. I applied while I was unemployed, and
     18 I applied for a job with the State Transportation             18 they called me right when I started at Zachry.
     19 Department. Numerous jobs daily. I looked for                 19  Q. Okay. All right. Did you have any other
     20 work daily.                                                   zo interviews?
     21 Q. What jobs did you apply for at Fort Knox?                  21 A. Yes, I did.
     22      A. Just like -- what's the name of the place?            22 Q. With whom?
     23     Wolverine or -- Wolverine, I believe it is. I can't       23    A. At Tower Automotive in Bardstown.
     24     recall the names, but, you know, for working out          24    Q. And what position were you applying for
     25    there.                                                     25   there?
                                                            Page 54                                                       Page 56
      1 Q. Did you submit these applications on your                   1 A. Material handling.
      2 own or did you do those through vocational rehab?              2    Q. And did you receive a job offer there?
      3    A. I've done both.                                          3   A. No.
      4      Q. All right. Did you keep copies of the                  4    Q.   And do you know why?
      5    applications you submitted?                                 5   A. No.
       6     A. No, sir.                                               6   Q. Okay. Any other interviews?
      7    Q. Did you have any job interviews?                         7   A. I interviewed at Jim Beam.
      8    A. Yes, I had.                                              8   Q. Okay. For what position?
       9   Q. Who did you interview with?                              9A. A bottler. I'm -- I'm not for, sure but I
     10A. With the State Transportation                               10 think it was a bottler.
     11 Department.                                                   11    Q. And were you offered a job there?
     12 Q. Okay. And -- and what branch or garage                     12    A. No.
     13    did you interview with?                                    13    Q. Do you know why not?
     14   A. This was in Elizabethtown, plowing                       14    A. No.
     15 highways and repairing highways.                              15 Q.      Were you offered any jobs other than with
     16  Q. Okay. And do you recall when you had                      16   the state and Zachry?
     17 that interview?                                               17   A. Not that I can recall.
     18      A. No.                                                   18Q. Okay. To your knowledge, would
     19     Q. Okay. Do you know why you did not get                  19 vocational rehab have on file the applications that
     20    that job?                                                  zo they helped you submit?
     21     A. They offered me the job. I -- I turned it              21   A. They give [sic] me a case worker. And
     22    down.                                                      22 I -- there is another place that just come [sic] back
     23      Q. Okay. And why did you turn that down?                 23 to me, now that you said that. That was American
     24      A. They didn't pay nothing.                              24 Synthetic. I had interviewed through them, but I
     25      Q. Okay. What was the rate of pay?                       25 believe I didn't receive it for my hearing

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      1   impairment, because it's a -- it's down there in         1Q.    And where are you looking now?
      2   Rubbertown. And I -- some people I worked with           2     A. I'm looking at driving.
      3   got hired, and I didn't.                                 3 Q. Over the road.
      4    Q. But does the case worker keep a list of              4 A. No, hopefully not. Since -- since Zachry,
      5   applications that you've made?                           5 I applied for Jefferson County School Board and
      6    A. They'll keep a list. She gives you                   6 was hired. And I did the three weeks of training,
      7   some -- some reference; you know, some ideals of         7   but when they went to give me a route, it was only
      8 -jobs. And -- and-if you really look for work                8 seven hours a day.- And they take-escrow-out to
      9 yourself, they kind of -- kind of put you on the             9 pay you during the summer.
     10 back burner, because you're trying to get a job and         10 And at that time, I told Ms. Jones that this job
     11 they help people that don't try.                            11 wasn't going to be adequate enough for me, the
     12    Q. Okay. So does -- I guess, in your                     12 pay. It -- it wasn't what I needed, what I wanted,
     13 situation, would Ms. Williams, or whoever the case          13 you know, and I resigned.
     14 worker was, give you leads or places that are               14 Q. What was the hourly rate of pay?
     15 looking for employees as opposed to her helping             15 A. 16.20.
     16 you complete applications?                                  16   Q. When did you do your three weeks of
     17    A. Ms. Williams helped me get Gulf Coast,                17 training?
     18 but she referred me to Options Unlimited, which             18 A. I started August the 18th, which I already
     19 they do some training on interviews with people             19 had the CDL with the school bus, but I had to train
     20 with disabilities. They help you -- like I said, if         20 with the others that didn't. And I did that for
     21 you're really gung ho, like I was, trying to look for       21 about three weeks.
     22 work, they kind of let you do your thing and kind of        22   Q. Have you had any other employment since
     23 help you when it comes time for an interview or             23 you left Zachry?
     24 something and back you up as a reference.                   24   A. No. I had an interview with FedEx about
     25    After I went to work for Gulf Coast, after that          25 three weeks ago.

                                                            Page 58                                                    Page 60
      1they  gave me a lady. And I don't know her name.            1 Q.     Okay. And have you received a call back
      2 Ebony referred me to her.                                  2 from them?
      3 I found the job at Gulf -- at Zachry Holdings,             3 A. Yes, I received back -- a call back.
      4 and the lady, I told her I was working. And she            4   Q. And -- and are you -- have you been
      5 gave me some papers to give to them, so they got           5 offered a position with them?
      6 a tax break.                                               6   A. No, I didn't get offered a position.
      7 Q. Now, tell me what Options Unlimited is?                 7   Q. All right. Have you applied anywhere
      8 A. Options Unlimited is -- Willy Burd runs                 8 else since you left Zachry other than with the
      9 the place, and it's a group of people with                 9 school board and FedEx?
     10 disabilities that help you with your interview, you       to A. I just applied for UPS, driving over the
     11 know. And you can take interviews and how to              11 road for UPS, but I had this deposition, so I
     12 dress.                                                    12 haven't taken -- she did call me back, but I told
     13    And -- and -- and he'll call them and tell them        13 her I couldn't take the job at this time.

     14 that you're hearing impaired, and please be aware         14   Q. Well, did UPS offer you a job?
     15 of and -- and help you in any way they can. Good          ts A. They called me for an interview. And I --
     16 company, good place.                                      16 and instead of burning a bridge by going in there
     17    Q. Are you receiving unemployment benefits             17 and taking a job and then have to take off a week
     18 now?                                                      18 later, I decided not to do that.
     19 A. No.                                                    19 I told her I had some things -- that I wouldn't

     20 Q. All right. Have you filed for                          20 be available at this time, but they did not offer me
     21 unemployment?                                             21 the job. It was just called me in for an interview.
     22    A. No.                                                 22   Q. Okay. Are you going to call them back to
     23    Q. Okay. Are you currently looking for                 23 see --
     24 work?                                                     24   A. I'm going to call --
     zs A. Yes.                                                   25 Q. -- if you can schedule the interview?
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      1 A. Yes. I'm trying to keep from driving over                  1   income coming in.
      2 the road, though.                                             2     A. No. No, sir.
      3     Q. Okay. And is that what that position's                 3    Q. All right. Have you -- have you ever filed
      4    for?                                                       4   any disability claims at all, whether it be with a
      5     A. I'm sorry.                                             5   private company or with Social Security?
      6  Q. Is -- is the position at UPS for over the                 6    A. Not yet.
      7 road?                                                         7    Q. Okay. "Not yet" means -- it sounds like
      8     A. Yes.                                                   8   you may be considering that- Is that something
      9     Q. Okay. So it's not necessarily a position               9   that you've considered?
     10 you want.                                                    10  A. Yes, it was something I could consider,
     11 A. No, I don't want drive over the road if --                11 but I I'd rather work.
                                                                                —



     12 unless I have to.                                            12    Q. Have you been terminated from any
     13     Q. Have there been any other places that                 13   position other than with-D.J. Incorporated and Gulf
     14    you've applied since you left Zachry?                     14   Coast?
     15     A. Yes.                                                  15    A. No, sir.
     16     Q. Where else?                                           16  Q. What -- I meant to ask you this. Are --
     17   A. AMEC, A-M-E-C. They're a construction                   17 what are some of your hobbies? What do you do in
     18 company like Zachry, but they're just starting up.           18 your spare time?
     19 They're not ready. And I'm hoping any time                   19    A. I like to run. I exercise. That's about
     20 they're going to call me. I believe they will.               20   all I do, and -- and I enjoy my grandkids and my
     21     Q. All right.                                            21   son --
     22     A. I've applied for Kinder Morris -- Morgan,             22    Q. Okay.
     23    Kinder Mor -- Morgan is the name of the company.          23    A. — and my daughters.
     24    They are a -- specialize in gas -- natural gas, kind      24    Q. And when you say "exercise," tell me
     25    of like --                                                25 what you mean by that.
                                                           Page 62                                                          Page 64
      1     Q. Where are -- where are they located?                   1    A. I work out. I run. I -- I lift weights, you
       2    A. Bedford, Kentucky, Trimble County.                     2   know, light.
       3    Q. Okay. Have you had an interview with                   3    Q. And where do      --
       4   them?                                                      4    A. I bike ride.
       5    A. Not yet. Not yet; no.                                  5    Q.   Okay.
       6    Q. Are there any other applications that                  6    A. I walk the bridge.
       7   you've made?                                               7    Q.   Do you belong to any gym?
       8    A. I'm sorry.                                             8    A. I — yeah.
       9    Q. Are there any other applications that                  9    Q. What -- what gym do you belong to?
     10    you've made?                                              10   A. We have our own gyms, you know. We
     11     A. Yes. Yes.                                             11 have a gym set up at my friend's. We had -- we
     12     Q. Where else?                                           12 wrestle. We box. We lift weights. We do
     13    A. I just applied for Kinder Morgan. I                    13 everything just to stay active.
     14  applied for -- oh, I'm trying to think. So many, I          14   This is what I do. I'm a sports fanatic. I
     15 can't remember. FedEx, UPS.                                  15 watch football.
     16       THE REPORTER: I'm sorry.                               16    Q. Okay. And when you say you -- you
     17       THE WITNESS: I applied for FedEx, and                  17   wrestle, tell me what you mean by that.
     18 I applied for UPS.                                           18   A. We just MMA, you know. I'm 48 years
     19    A. I can't recall right now. I have applied               19 old, and I'm — I'm still a kid at heart. And — and
     20 for work, you know. I try to daily.                          20 we like to work out, and -- and that's when we do.

     21 BY MR. JOHNSON:                                              21   We practice grappling, but I have shoulder
     22     Q. Okay. What -- what have you done for                  22 tear. I can't — I can't get hurt, you know.
     23    income since you left Zachry?                             23    Q. And how long have you done the -- the
     24     A. Living off my savings.                                24   wrestling?
     25     Q.   Okay. You don't have any -- any active              25    A. Oh, I've done that all since high school,
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      1you   know.                                                 1   A. Yeah, because my friends had fights and,
      2 Q. Okay. Okay. And then how about the                      2  you know, I would bring a -- a poster or something,
      3 boxing?                                                    3 you know, and hang it up at work.

      4 A. I've done boxing since 11 years old.                    4   Q. Uh huh. Did you do that at Zachry?
                                                                              -



      5 Q. Okay. And do you currently box?                         5 A. Yes.

      6 A. I'm sorry.                                              6   Q. Did you do it at Gulf Coast?
          Q. Do you currently box?                                 7   A. Yes. Lear.
      8 A. No We -- we work out, but I don't get hit               8 Q. And Lear, as well
      9 upside the head no more, you know. I don't get             9 A. [nods head]
     10 hit, so. .                                                10 Q. Okay. You have to answer "yes" for me.
     11 Q. But do you get in and spar?                            11 Did you do it --
     12   A. Yeah, light -- light.                                12 A. Yes.
     13   Q. Okay.                                                13   Q. -- at Lear, as well?
     14   A. Hit the bag.                                         14   A. Yes.
     15   Q. All right. And same with wrestling, do               15 Q. Okay. And so would people there know
     16 you do light wrestling?                                   16 you were into boxing or wrestling?
     17   A. Yeah, light. I mean, you know, we do                 17   A. I guess they did, you know.
     18 jujitsu, you know, practice things. And I haven't         18 Q. Okay.
     19 been doing it lately --                                   19   A. Some did.
     20   Q. Okay.                                                20 Q. Okay.
     21   A. -- but that's -- that's something I -- you           21      MR. JOHNSON: All right. We've been
     22 know, I enjoy to do.                                      22 going for over an hour plus. Let's take a short
     23   Q. And are -- and are those things that                 23 break, if you don't mind?
     24 you've done throughout the course of your life?           94      THE WITNESS: Yeah, I'd like to myself.
     25   A. No, because it's not something that we               25       MR. JOHNSON: Yeah. Absolutely.
                                                        Page 66                                                      Page 68
      1know.     You know, it's -- it's how to move, MMA,          1 [WHEREUPON, a brief recess is taken.]
      2 and stuff like that. It's just something, you know,        2 BY MR. JOHNSON:
         I'm. .                                                    3 Q. All right. Do you recall who you
      4    Q. But you mentioned you've done boxing                 4 interviewed with at Gulf Coast?
      5 since 11.                                                  5 A. Yes, Steve Parks; Richard Waters; and
      6    A. Yeah, off and on.                                    6 Theresa was a secretary, but I don't recall her last
      7    Q. Okay. What about the -- what about the               7 name. But I had an initial interview with a man at
      8 wrestling-type     stuff? Is that something you've         8 the same place, but I don't recall his name. I'm
      9 done    the past  ten  years?                              9 sorry.

     10 A. Yeah.                                                  10 Q. Okay. And -- and did you have an
     11 Q. Okay.                                                  11 understanding of what Gulf Coast was?
     12    A. I have friends that fight MMA, you know,            12 A. Not really.
     13 and   we work out --                                      13     re? right. Did you find out what they
     14    Q. Okay.                                               14 were?
     15    A. -- you know.                                        15   A. As I worked.
     16    Q. So where -- where do you go to -- to box            16 Q. Okay. What was your understanding
     17 and to wrestle?                                           17 before you began working there as to what Gulf

     18 A. At my friend's.                                        18 Coast was and what they did?
     19 Q. And what's -- what's his name?                         19   A. My understanding was I was going to work
     20    A. Scott Keller.                                       zo at Fort Knox doing carpentry and stuff.
     21 Q. Okay. Is this at his house, or does he                 21 Q All right. Where did you first learn of
                                                                         .


     22 have a gym?                                               22 Gulf Coast?
     23    A. It's at his house.                                  23   A. Ebony Williams, vocational rehabilitation.
     24    Q. Okay. And at your places of work, would             24       stA?nd what did she tell you about Gulf
     25 you talk about boxing or wrestling?                       25 CQoa.
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      1    A. I went to see Ebony that day, and I told                1 A. At the time I started was Mike Clemons.
      2   her, I guess, I was going to go to school. At my            2 What's the foreman's name? They terminated him.
      3   age, I'm 48 years old, I'm trying to look for a good        3 He was — he was the foreman. Mike is the lead
      4   job. I just lost a good job after 20 years and 7            4 man. And Zed -- Bill Zednick is the lead man.
      5   months due to a plant closure that I thought I'd            5 They're like supervisors. They call them lead man.
      6   retire from.                                                6   Q. And --
      7    So I was trying to look for a decent job. At               7  A. But there was a guy named and he is
      8   that time, I told Ebony, I said, "I guess Pm going          8 the_foreman. He is the supervisor. And he was
      9   to go to school." And Ebony said, "Wait. I'm                9 terminated, and his name was -- I can't recall his
     10   going to call." And — and I really didn't — like I'd       10 name.
     11   be in the office.                                          11 Q. What was he terminated for?
     12     And she come [sic] back and said, "Can you               12   A. Looking up pornography or something on
     13   do this type of work?" And t said, "Yes, I've done         13 the Internet.
     14   windows and doors and that, you know, on the side          14 Q. Okay.
     15   of my house,"                                              15 A. This is what I was told. I'm not for sure.
     16     And that's when she called me one day and                16 Q. Okay. Was -- was this gentleman that
     17   set the interview up to talk to this guy at the            17 was terminated, was he your direct supervisor?
     18   Holiday Inn in — off 313 out towards E-town and            18 A. Yes.
     19   Radcliff. And I had the initial interview.                 19 Q. Okay. Where did -- tell me where Mike
     20     Didn't — wasn't familiar. It was something               20 Clemons and Bill Zednick fell in line then.
     21   about a contract and the government. And they              21 A. They're lead men, and you have a
     22   moved it — they kept moving it back, but I never           22 foreman who is the boss. They are workers that
     23   went into detail. I was too busy looking for work,         23 are kind of -- they leads, you know. They kind of
     24   just...                                                    24 lead. They're supposed to show you what to do
     25     Q. All right. Do you recall any information              25 and kind of lead the way.

                                                         Page 70                                                     Page 72
      1that  you were given during the interview process?             1 Q. All right.
      2   A. No. You know, it was kind of like you just               2   A. They're called lead men.
      3 went in there and they want to hire people, you               3 Q. Okay. Was -- was the gentleman that was
      4 know. And there was a lot of people there getting             4 terminated, would he have been above Mike and
      5 hired, hired, you know, and interviewed.                      5 Bill?
      6   Q. Was it like a job fair?                                  6   A. Yes.
      7   A. It wasn't a job fair. I — you know, I                    7   Q. Okay.
      8 really don't know what it was. I just showed up               8 A. His -- and -- and it -- I know it'll come
      9 and seen it, you know. I just know that I had a               9 back to me.
     10 certain time that I interviewed.                             10 Q. That's okay.
     11 Q. All right. How many interviews did you                    11 A. I'm just trying to --
     12 have?                                                        12   Q. So if -- if -- if somebody said, "Hey" --
     13   A. Two.                                                    13   A. Willis. His name was Willis.
     14   Q. Okay. And what position were you                        14   Q. Okay. That's his first name or last name.
     15 applying for?                                                15 A. First name, Willis.
     16   A. General maintenance worker.                             16 Q. Okay. If somebody said, "Chris, who's
     17   Q. And is that the position that you were                  17 your boss," who would you have said when you
     18 hired for?                                                   18 started?
     19   A. Yes.                                                    19   A. I'd have said Willis.
     20   Q. Okay. And do you recall when you were                   20   Q. Okay. Now, I know that not everybody
     21 hired?                                                       21 that works there is a Gulf Coast employee. Were
     22   A. 11/1/11.                                                22 you aware of that, as well?
     23   Q. And who was your supervisor --                          23   A. Correct.
     24   A. I had --                                                24   Q. Okay. Who else did people work for?
     25   Q. -- at the time you started?                             25   A. Ginn Group.
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                                                       Page 73                                                     Page 75
      1  Q. G-i-n-n.                                               1 disabilities working with them.
      2  A. They were Ginn Group; yeah.                            2  So really I had a partner that I worked with
      3  Q. Okay. So was -- was Mike Clemons a                     3 from the Ginn Group.
      4 Ginn employee?                                             4  Q. Did or did not.
         A. Yes, sir.                                              5  A. No, sir.
      6  Q. And Bill Zednick.                                      6  Q. You -- you did or did not have a
      7  A. Yes, Ginn.                                             7  A. I did.
      8 Q. And -- and this Willis.                                 8  Q. Ok4C_Who was_that partner?
      9  A. Willis, yes, Ginn Group.                               9  A. I've had different ones.
         Q. All right. So your direct supervisor was              10  Q. Okay. All right. So you said you were a
     11 not a Gulf Coast employee. It was a Ginn                  11 pioneer. What do you mean by that?
     12 employee.                                                 12  A. That's what they told me I was is -- Gulf
     13  A. Exactly. We had no supervisors                        13 Coast. I was a -- it was a new -- a new
     14  Q. Okay.                                                 14 government program to get people with disabilities
     15  A. — from Gulf Coast.                                    15 working.
     16  Q. What department did you start out in?                 16  Q. Oh, so you -- you think -- or it was your
     17  A. Structures.                                           17 impression that -- that you were -- that this was a
     18  Q. Tell me what that means.                              18 new thing for Gulf Coast to hire people with
     19  A. That's where you work on buildings:                   19 disabilities.
     20 Windows, doors, roofs, ceilings, anything to do           20  A. No.
     21 with a structure.                                         21 Q. Okay. I guess I don't understand why --
     22  Q. And would you be all throughout the base              22 why is -- you thought it was a pioneer -- why
     23 doing that?                                               23 somebody said you were a pioneer.

     24    A.   Yes.                                              24  A. That's what Gulf Coast said I was, and
     25    Q. You weren't limited to one specific                 25 that this was a new thing that we were working --

                                                       Page 74                                                       Page 76
      1 building, I take it.                                  1 people with disabilities working.
      2 A. No, just what needed to be repaired.               2  Q. Okay.
      3    Q. Okay. Did you work in -- in a crew or did       3  A. It's really a complicated thing.
      4   you work by --                                      4   Q. Okay. What's your understanding of it?
      5    A. Sometimes.                                      5  A. It's just a messed-up situation.
      6    Q. -- did you work by yourself?                    6   Q. Okay. What do you mean by that?
      7    A. Sometimes. Both.                                   A. It just wasn't planned out. It wasn't
      8    Q. Okay. Did it just depend on what you            8 thought out. And they threw us in a situation that
      9   were doing that day?                                9 wasn't evaluated.
     10    A. Yes, and how many people were needed.          10 And they put me in a situation -- eventually,
     11    Q. Okay. Who -- who would tell you, "Okay.        11 the people that were training me, we were going to
     12   Chris, here's what we're going to do today"?       12 take the jobs. And I didn't know that until I
     13    A. Mikey Williams and Zed -- Bill Zednick.        13 started working there.
     14    Q. Okay. So you said Mike Williams. Mike          14  And it just -- really, with my hearing
     15   Clemons?                                           15 impairment, I just had a lot of difficulties, a lot of
     16    A. Oh, Mike Clemons. Right.                       16 problems.
     17    Q. Okay.                                          17   Q. Okay. So you said the people that were
     18    A. I'm sorry.                                     18 training you, you were going to be taking their job.
     19    Q. All right. So you'd report to work on a        19   A. Exactly.
     20   Monday, and either Mike or Bill would say, "Chris, zo Q. Okay. Who -- whose job were you going
     21   here's we need you to do today."                   21 to be taking?
     22    A. Yes. You had -- the -- the Ginn Group          22 A. A Ginn Group.
     23   people had boxes and -- let me explain this real   23   Q. Okay. And was that in the structures
     24   fast. I was hired as a new -- they called me a     24 department?
     25   pioneer. It was a new thing, people with           25  A. Yes.
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      1  Q. Okay. So did the Ginn Group people            1     A. Handbooks, government rules, EEOC,
      2 know this?                                         2   safety, attendance.
      3  A. Yes.                                           3    Q. Do you -- I'm sorry. Go ahead.
      4  Q. And do you think that that caused some         4    A. Federal -- fed -- some federal rules, I
      5 tension between the Gulf Coast people and the      5   guess, safety rules and.. .
      6 Ginn folks?                                        6    Q. Okay. Do you -- do you still have those
      7  A. Absolutely. Absolutely.                        7   documents?
         Q. Okay. Did that ever happen prior to you        8    ANo.
      9 leaving that you took a Ginn Group employee        9    Q. What happened to them?
     10 position?                                         10    A. I had my handbooks and all those things
     11 A. Exactly. It -- yes.                            11   in my -- in my locker. Now, I might have some
     19  Q. That did happen.                              12   papers, you know, up in -- that I usually would put
     13  A. Yes.                                          13   up in a closet, but I haven't looked.
     14  Q. Okay. Whose po -- whose position did          14     Q. Okay.
     15 you take --                                       15     A. So I don't know what I also have. I know
     16  A. I'm not sure.                                 16   my handbook and all that was in my locker.
     17  Q. -- at the -- at the Ginn Group?               17     Q. Okay. And -- and did you retrieve those
     18  A. They were -- they were laid off,              18   items from your locker?
     19 terminated.                                       19     A. No, no. As a matter of fact, I didn't even
     20   Q. Okay.                                        20   get my personal items from them.
     21 A. Yeah.                                          21     Q. Okay. And you're talking about a -- a
          Q. Who -- who was laid off at the Ginn Group    22   locker at work.
     23 so you could take their job?                      23     A. Yes.
     24   A. I couldn't tell you. An employee.            24     Q. Okay. Let me ask you, Mr. Slaughter --
     25 Q. Where -- where did you get the                 25        MR. JOHNSON: And, Rose Mary, I'll
                                                Page 78                                                       Page 80
      1 information that Ginn Group employees were laid    1 mark these as we go along
      2 off and you took their position?                   2      THE REPORTER: Okay.
      3 A. When I took the job.                            3      MR. JOHNSON: -- if that's okay with
      4   Q. Okay. When you originally took the job in     4 you?

      5 November.                                          5      THE REPORTER: That's fine.
      6   A. Yes.                                          6      MR. JOHNSON: It makes it easier on
      7   Q. All right.                                    7 you.
      8 A. Didn't know until the day I started, maybe      8      THE REPORTER: Thank you.
      9 a couple days after when I got to working with     9      MR. JOHNSON: All right.
     10 them.                                             10 [WHEREUPON, document referred to is marked
     11 Q. All right. When you started with Gulf          11 Exhibit 1 for identification.]
     12 Coast, did you go through some orientation?       12 BY MR. JOHNSON:

     13 A. Yes, I did.                                    13  Q. What I'll give to you and your counsel --
     14  Q. Tell me how long that orientation lasted.     14  A. Uh-huh.
     15 A. I believe it was a day, day and a half.        15  Q. -- is -- what I've marked as Exhibit 1 is a
     16 Q. And where did you do that orientation?         16 Code of Conduct Training document. It's dated
     17  A. At Fort Knox --                               17 November 1, 2011. Is that your significance on
     18  Q. Okay.                                         18 that document?
     19  A. -- at 1730 Richardson Hall.                   19  A. Yes, it is.
     20 Q. And who did the orientation?                   20  Q. And did you receive, read, and
     21 A. Different people.                              21 understand the code of conduct document as
     22  Q. Were you provided various documents at        22 indicated on the form that you signed?
     23 that orientation?                                 23  A. Yes, I did.
     24  A. Yes, I was.                                   24  Q. All right. What was your understanding --
     25  Q. What do you recall being provided?            25 or what is your understanding as to the code of

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      1   conduct that was expected of you at Gulf Coast?        1 reporting harassment in the workplace.
      9    A. Basic rules, and its always been a part            2   A. Yes.
      3   of my work, always part of all my work at different    3   Q. Okay.
      4   places.                                                4 [WHEREUPON, document referred to is marked
      5    Q. What -- tell -- that -- that's pretty              5 Exhibit 3 for identification.]
      6   general. Tell me what you mean by that.                6 BY MR. JOHNSON:
      7    A. Right. It's just basic rules that you go           7   Q. I'll show you what I've marked as
      8   by.                                                    8 Exhibit 3.
      9     Q. Okay. And -- and when you say "basic              9   A. Okay.
     10   rules," tell me what you mean.                        10   Q. And is that a document that's entitled
     11    A. You know, showing up for work,                    11 Employee Handbook Acknowledgment --
     12   attendance; proper attire, proper clothes;            12   A. Okay.
     13   dressing, being subordinate, not missing work.        13   Q. -- at the top?
     14     Q. Would it be -- would it also include             14   A. Okay. Right.
     15   treating others with respect?                         15   Q. All right. So Exhibit 3 is Employee
     16    A. With what?                                        16 Handbook Acknowledgment.
     17     Q. With respect.                                    17   A. Yes.
     18     A. Yeah.                                            18   Q. And did you ack -- acknowledge by your
     19     Q. Okay. Not using profane language.                19 signature of November 1, 2011 that you received
     20     A. Right, profane language.                         20 that handbook?
     21     Q. All right. Not threatening any                   21 A. Yes.
     22   individuals.                                          22   Q. And that you acknowledged that you
     23     A. Right.                                           23 would comply with the provisions of that handbook.
     94     Q. Okay. And -- and, Mr. Slaughter, would           24   A. Yes, sir.
     25   you understand that making a threat of violence or    25   Q. And do you have any recollection of
                                                     Page 82                                                 Page 84
      1a   statement of intimidation toward a coworker           1asking  any questions of anyone at Gulf Coast
      2   could jeopardize your job?                             2 regarding any provision in that handbook?
      3    A. Yes, I did.                                        3   A. Yes, I have.
      4    Q. Okay. And did you agree to by -- abide             4   Q. Okay. Who did you ask questions about
      5   by the code of conduct?                                5   regarding that?
      6    A. Yes.                                               6   A. Bill van Cleave.
      7    Q. All right. I'll show you what I'll mark as         7 Q. Okay. And what sections of the handbook
      8 Exhibit 2. That document is entitled Creating            8 did you ask Mr. van Cleave about?
      9 Respect in the Workplace.                                9 A. I couldn't tell you the sections, you know.
     10 [WHEREUPON, document referred to is marked              10 I don't know the sections.
     11 Exhibit 2 for identification.]                          11 Q. Okay. I know that you had some
     12   BY MR. JOHNSON:                                       12 conversations with Mr. van Cleave about some
     13    Q. And did you sign that document on                 13 issues at work, but did any of your conversations
     14   November 1,2011?                                      14 with Mr. van Cleave pertain specifically to the
     15    A. Yes, I did.                                       15 handbook?
     16   Q. And that document in -- indi -- indicates 16 A. No, sir.
     17  that you received nonharassment training and  17 Q. Okay. All right.
     18 written materials on preventing and reporting  18 A. I can't be for sure, because I didn't --
     19 harassment, including sexual harassment in the 19 when I asked questions, I didn't go back and see
     20 workplace.                                     zo what section it was in --
     21   A. Yes, I did.                               21 Q. And
                                                       23              and --
     22   Q. All right. And did you agree to abide by  22   A. — and bring it -- A section 13 said
                                                                                                 -- I
     23 the training you received?                         didn 't.
     24   A. Yes, I did.                               24   Q. And -- and -- and that's the nature of my
     25   Q. Which would include preventing and        25 question right now. We'll get into some of the

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     1 conversations that you had with him.                             1 mean, you know, we're out working at a place. I
     2  A. Okay.                                                        2 mean, we didn't cuss each other, but as far as —

      3Q. But my question right now specifically                        3 no, I -- I'm not somebody that just cusses up and
      4regarding the handbook and Exhibit 3 is: Did you                 4 down. I'm not, but I can't say I wouldn't have said

      5 have any specific discussions about the handbook                5 "hell" or -- or something. I -- I'm not for sure. I
      6 with anybody at Gulf Coast?                                     6 can't recall.

      7   A. No.                                                         7 Q. All right. In my mind, there may be a
      8   Q. Okay.                                                       8 dif fel    Wtween using a cuss-word-and cussing
      9 A. No. I just want to make sure I understand                     9 at somebody.
     10 you right. You mean did I ever take a handbook to               10 A. Right.
     11 someone and ask them about certain rules? Is that               11 Q. Okay.
     12 what you're asking me?                                          12  A. Exactly.
     13   Q. Yes, sir.                                                  13    Q. You understand the distinction between
     14   A. No.                                                        14 the two.
     15 Q. Okay.                                                        15 A. I understand; yes, sir.
     16   [WHEREUPON, document referred to is marked                    16   Q. All right. Did you ever cuss anybody?
     17   Exhibit 4 for identification.]                                17   A. No.
     18 BY MR. JOHNSON:                                                 18    Q. Okay. What was your rate of pay when
     19 Q. And, then, Mr. Slaughter, I -- I've marked                   19   you started with Gulf Coast?
     20 as Exhibit 4 a document entitled Workplace                      20    A. 17.33 an hour.
     21 Etiquette Training. Is that your signature on that              21 Q. And did that rate of pay stay the same the
     22   document?                                                     22 entire time that you were there?

     23    A. Yes, it is.                                               23    A. Yes, you're supposed to receive
     24   Q. And did you acknowledge receiving                          24   Davis-Bacon pay for certain work.
     25 training and written materials on proper workplace              25    Q. Okay. What does that mean?
                                                              Page 86                                                     Page 88
      1 behaviors and etiquette?                                         1  A. There was skill pay.
      2    A. Yes, sir.                                                  2  Q. Okay. So did -- did -- did your hourly
      3   Q. And do you know what that training                          3 rate depend upon the type of job you were

      4   entailed?                                                      4 performing?

      5   A. What? Say that again.                                       5 A. Yeah, the work you were performing.
      6    Q. Yeah. What -- what did that training                       6    Q. Okay. Would sometimes it'd be less
      7   include?                                                       7   than 17.33 an hour?
      8A. Training include -- the workplace                              8     A. No, it -- that was your base rate. And
      9 training, its just how you go about treating people              9   if you were painting or something, you'd get
     10 with respect. And it basically was about people                 10   Davis-Bacon pay sometimes.
     11 with disabilities and -- and how to treat them,                 11    Q. Would that increase the rate of pay then?
     12 and -- and just some normal -- you know, how to                 12    A. Yes. Yes.
     13 talk to people, so forth.                                       13    Q. All right. And -- and did you know that
     14  Q. Based on the entire time you were at Gulf                   14   going into your position?
     15 Coast, in your mind, was there ever a time in                   15    A. No.
     16 which you did not abide by any of these trainings               16    Q. Okay. When did you become aware of
     17 that you received or rules that were provided to                17   that?
     18 you?                                                            18    A. Maybe few days, a week.
     19  A. No.                                                         19     Q. Into the job.
     20   Q. Okay. You always complied with them.                       20     A. Right. Right.
     21     A. I always complied with the rules.                        21     Q. All right. All right. Was there ever a
     22     Q. Okay. Even the use of profane language.                  22   time when you earned less than 17.33 an hour at
     23     A. I don't use no profane language.                         23   Gulf Coast?
     24   Q. Never did.                                                 24     A. No, I don't believe.
     25     A. I -- now, I did -- I didn't say never did. I             25    Q. Okay. And was that -- was 17.33 the rate
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      1of pay that you were quoted at the time you were           1much had a CDL, from what I understood. I didn't
      9 hired?                                                    2
                                                                  have a CDL. I couldn't I -- I asked for them not
      3   A. Right.                                            3 to transfer me, because I my experience was in
      4   Q. Okay.                                             4 structures.

          A. That was the government-set pay for a             5 Q. Did you have any issues at all while
      6 general maintenance worker.                            6 working in structures?
      7    Q. Okay. All right. How long did you stay in            A. Yes.
      8- the structures department?                            8 Q.  Okay. What were the issues?
      9 A. I stayed in structures for seven months --          9   A.  Just the way they would scream and
     10 Q. Okay.                                              10 holler and raise their voice at me. I had
     11 A. -- from -- from November 11th until the            11 complaints that I wouldn't receive Davis-Bacon pay
     12 first of May -- from November the 1st, I mean.        12 while other people would. If they were taking
     13 Yeah.                                                 13 smoke breaks, and I didn't smoke, I wasn't
     14    Q. Through the first of --                         14 supposed to take a break.
     15 A. November 1st, 2011 --                              15 Q. Okay. Who -- who would scream and
     16 Q. Okay.                                              16 holler at you?

     17 A. -- to May the 1st -- the first of May. I'm         17   A. Different, just -- just.. .
     18 not specific on what exact date.                      18 Q. Okay. Give me names.
     19    Q. I gotcha. Why -- why were you                   19   A. Mike Clemons, Elmer Wilson, Zach Dixon,
     20 transferred at that -- I guess, first off, where were 20 pretty much -- Steve Parks. Let me think. You
     21 you transferred to?                                   21 know, it's -- it's something — if you don't hear, it's
     22    A. I was transferred to roads and grounds.         22 a normal -- "Hey," you know. Just people raise
     23    Q. Okay. And did you stay in roads and             23 they voice. You know, if they're not -- if they're
     24 grounds from May until your last day?                 24 not educated.
     25    A. Until my termination; yes.                      25   Q. All right. Were they screaming and
                                                      Page 90                                                     Page 92
      1 Q. All right. Tell us why you were                        1  hollering at you in a mean way or in a way in which
      2 transferred from structures to roads and grounds.         2 they were trying to communicate with you because
      3 A. I couldn't tell you. I believe — I believe             3 you have a hearing impairment?
      4 they was trying to terminate me.                          4   A. After I complained that I didn't like to be
      5 Q. Okay. If they were trying to terminate                 5 screamed at or yelled at, that I was sensitive to
      6 you, why wouldn't they go ahead and terminate you         6 being hearing impaired, it got to be -- it -- it got
      7 in May?                                                   7 worse. And I could say it got to be funny, a joke,
      8 A. I do not know.                                         8 you know.
      9   Q. What makes you think they were trying to             9 Q. And who did you complain to?
     10 terminate you?                                           10 A. I complained to the individuals that
     11 A. I complained. I filed a complaint with the            11 would — you know, I would just -- F would just
     12 EOC about that time.                                     12 explain, you know =- you know, "I'm hearing
     13   Q. Okay. Did you file your complaint with              13 impaired." Just like I explained to you when I
     14 the EEOC prior to being transferred?                     14 came in here about how you know. . .
     15 A. About the same time. I'd say prior.                   15 That's — after several times, I finally went to
     16   Q. Okay. So you think due to the fact that             16 Bill. And that's when I said he told you — it's --
     17 you filed the EEOC complaint, they transferred you       17 he told me I'm a pioneer. It's a work-in-progress.
     18 from structures to roads and grounds.                    18 Q. Were there any other hearing-impaired
     19   A. Yes.                                                19 individuals there?
     20   Q. Okay. Is there any other reason why                 20   A. No, not that I know for sure. Maybe they
     21 you'd think of -- I'm sorry, the -- let me start over.   21 didn't know.
     22   Is there any other reason why you can think of         22   Q. How many times did you complain to Bill
     23 that you were transferred from structures to roads       23 about this?
     24 and grounds?                                             24   A. Numerous. I -- I know I talked to Bill
     25   A. Everybody in roads and grounds pretty               25 seven, eight times, approximate. Numerous times.

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      1   Q.   Okay. And -- and let me be specific:               1 a Okay. Was Gary Nichols in on the
      2 How many times did you talk to Bill about people          2 meeting with you and Bill?
      3 screaming and hollering at you in the structures          3   A. Yeah, one time --
      4 department?                                               4   Q. Okay.
      5   A. Probably five, six times.                            5   A. — that we had.
      6   Q. Okay. Can you give me the dates that                 6   Q. Why was -- why was he on the meeting?
      7 occurred?                                                 7   A. Because he was the safety. And one
      8   A. I can't recall, you know, exactly; within            8 time, Mike Clemons, we were working in his office,
      9 that time frame at the time I started until the time      9 and he asked me to step out because somebody
     10 I was terminated.                                        10 came -- we were fixing the ceiling — drop ceiling.
     11 Q. And what would Bill tell you?                         11 And he told me to step out.
     12   A. Just what I told you. He'd say, "Ifs a              12   And Mike Clemons had came up. He's the lead
     13 work-in-progress. We're — we're pioneers, you            13 man, 11-0w, and — and got on me about being out of

     14 know. Other people had these different                   14 the — the office, being down there talking to Bill,
     15 disabilities, and that it's -- it's, you know, a         15 which he told me to take a break.
     16 work-in-progress that, you know, they're working         16   So he came in there to tell him, "Yeah, I told
     17 through it." These people, you know, I have to           17 Chris to step out of the office."
     18 bear with them, you know.                                18 Q. Okay. All right. So that sounds like it
     19   Q. Did Bill ever indicate that he would talk           19 was an isolated incident with Mr. Nichols. I mean,

     zo to these people?                                         20 that didn't --

     21 A. Yes.                                                  21 A. Yeah. Yeah, with Mr. Nichols, yeah --
     22   Q. Okay. And did he do that?                           22 Q. Okay.
     23   A. I guess he did.                                     23   A. — that day.
     24   Q. Okay.                                               24   Q. That doesn't sound like that had anything
     25   A. We had a meeting ourself, you know,                 25 to do with your hearing impairment.
                                                         Page 94                                                     Page 96
      1 with — with those people.                                 1   A. Yeah. Well, just how he talks to you, you
      2   Q. Okay.                                                2  know.
      3   A. Me, him, and them.                                    3  Q. Okay.
      4   Q. All right. You mentioned that you had                 4  A. Yeah.
      5 about five or six meetings with Bill. Were there           5  Q. All right. Who was all in this big
      6 any people in those five to six meetings?                  6 meeting?
      7   A. Yes. Yes, there was. The secretary                    7  A. The big meeting? It was Mike Johnson,
      8 would be in there. I had a -- an interview with            8 Mikey Clemons, Steve Parks, Hamlet Braxton, I
      9 Gary Nichols -- with — with Gary Nichols and them.         9 believe Gary Nichols was in that one, Bill — Bill
     10 Cl. Who's Gary Nichols?                                  10 van Cleave, and myself, and maybe Bill Zednick
     11 A. He was the safety coordinator for Ginn                11 might have been in there.
     12 Group. I had -- he would basically have a meeting        12 Q. Bill Zednick.
     13 with me and then maybe have a meeting with               13   A. Yeah.
     14 them --                                                  14   Q. Okay.
     15 Q. Okay.                                                 15 A. Zed — Zednick. I'm not sure how you
     16   A. -- but --                                           16 spell.. .
     17   Q. And my -- my --                                     17   O. All right. And what brought about this big
     18   A. — eventually after a few times, we finally          18 meeting?
     19 had a big meeting --                                     19   A. It -- it started that morning with Mikey
     zo Q. Okay.                                                 20 Clemons. The day before, Mike Johnson told me
     21 A. -- together.                                          21 that, "Me and you are going to have a meeting in
     22   Q. All right. Prior to this big meeting                22 the morning about all of this," just how things have
     23 together, did you meet with Bill and any -- anyone       2 3 been going, the way they talk to me, the way they
     24 else?                                                    24 raise their voice at me, the way my pay -- some
     25 A. Yeah, Gary Nichols.                                   25 people getting paid Davis-Bacon pay by doing the
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      1 same work I did but I didn't get the pay.                    1    A. Not -- not in structures, not in
      2   Just the issues Mike told me before I left that            2   structures --
      3 day. I had come back off the job. You have to go             3    0. Okay.
      4 in and sign out, and then you go for home. So                4    A. -- you know.
      5 wherever you're working on the base, before you                   Q. All right.
      6 go home you go back to the shop.                             6    A. I only had one incident ever with a Gulf
      7   Mike come up to me at the end of the day and                   Coast employee.
      8 said, "I want to speak with you tomorrow when you            8    Q. Okay. All right. And so all -- all these
      9 come in," you know, because the day was over.                9   structured folks and all the ones that you listed for
     10   That morning I was waiting in his office where            10   me were Ginn Group employees.
     11 their desks is, too, the lead men's desks. And he           11    A. Most of them, yes.
     12 said, "What are you doing?" And I said, "I'm                12    Q. Okay.
     13 waiting to speak to Mike Johnson." And he took              13    A. If you read them back to me, I --
     14 Willis's spot. He is the foreman.                           14    0. Yeah. Mike Johnson --
     15   And he said, "We ain't got time for all this.             15    A. Yes.
     16 You need to get on back to work." And I said, "I            16    Q. -- Ginn Group.
     17 have a meeting with Mike."                                  17    A. Yes.
     18   "Well, come on. Let's go now."                            18    Q. Mike Clemons --
     19   So we went down and -- I followed him. And                19    A. Yes.
     20 we walked in to Steve Parks, who is a Ginn Group            20    Q. -- Ginn Group.
     21 project manager. And Mike Clemons is a Ginn                 21    A. Yes.
     22 Group employee, but my lead man. Said he                    22    Q. Steve Parks, Ginn Group.
     23 couldn't have me standing out in the hall, walk --          23    A. Yes.
     24 wandering the halls. He couldn't have me                    24     Q. Braxton --
     25 wandering the halls.                                        25    A. Yes --
                                                          Page 98                                                   Page 100
      1 And at that time, I asked to speak with Bill,                1 Q. -- Ginn Group.
      2 because they're Ginn Group employees that I work             2 A. -- Hamlet Braxton, yes.
      3 for that supervise me. And at that time we had a             3   Q. Ginn Grou -- he was Ginn Group.
      4 big meeting. It had been going on for a while.               4   A. Yes. Yes.
      5 Q. Okay.                                                     5 Q. And Nichols.
      6   A. And that's why we had the meeting.                      6 A. He's Ginn Group.
      7   Q. All right. And -- and you mentioned that,               7    Q. Ginn Group. Bill Zednick
      8 you know, some of these people had -- I guess,               8 A. Yes.
      9 would scream and holler at you, raise their voice.           9    Q. -- Ginn Group.
     10 Were any of these people Gulf Coast employees or            10   A. Ginn Group.
     11 were they all Ginn Group?                                   11 Q. And then you've got Bill -- Bill van Cleave
     12   A. You know, I have to -- it would be some                12 I think is Gulf Coast.
     13 of both. It would be --                                     13   A. No, he is HR for Gulf Coast.
     14   Q. Okay.                                                  14    Q. For Gulf Coast. And did Bill --
     15   A. -- some of both sometimes, but, you                    15 A. But Bill didn't yell at me or raise his
     16 know, most of the time they don't understand. You           16 voice.
     17 know, just you're working, and I'd just say, "Man,          17    Q. -- did Bill always treat you with respect?
     18 I -- you know, just -- you know, I don't hear well."        18    A. Yes, he did.
     19   I usually present that to people when I meet              19 a All right.
     20 them. "I'm going to tell you. I'm hearing                   20    A. A good man.
     21 impaired. I'm" -- you know, just like me and you            21    Q. Okay. Okay. Tell me, then, what took
     22 did. That's -- that's usually my normal how I, you          22 place at this big meeting.
     23 know, talk to some people.                                  23    A. What went on in the meeting?
     24   Q. Okay. But my -- my question was: Were                  24    a Yes, Sir.
     25 any of these individuals Gulf Coast employees?              25   A. Just about how my hearing impairment,
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      1    and — and them — them being biased about paying              1 being a — approximately. They moved me after
      2    the people for the Davis-Bacon, and not spreading            2 that meeting, but I don't remember exactly.
       3   the work around, but most of my problem was due              3   Q. Did they move you immediately?
       4   to my hearing.                                               4   A. I can't -- it -- it was a few days, I believe
      5     And after I complained, it got to be just a lot             5 it was.
       6   of games, you know. And and like I said,                     6   Q. Okay.
       7   working in the museum one day, they stopped to               7   A. Against my wishes.
       8   smoke. And I took a little break with them.                  8   Q. Why was it against your wishes?
       9    And Mikey Clemons comes in and says, "What                  9   A. I didn't want to move --
     10    are you doing? You ain't smoking. You get back              10 Q. Why is that?
     11    to work." I said, "I don't get a break?"                    11 A. — because I didn't know roads and
     12      "Well, you ain't smoking." And it just kind of            12 grounds. I didn't have a CDL, and I didn't think
     13    snowballed.                                                 13 that was secure. I thought, you know, there's
     14      Q. Who would determine whether you got the                14 room for a problem.
     15    Davis-Bacon pay?                                            15 The people weren't educated working with
      16     A. Your supervisor: Mike Clemons, Bill                    16 someone with a hearing disability. And if I was a
     17    Zednick, Mike Johnson, Willis.                              17 pioneer like they said, I was trying to work through
     18      Q. Okay. All right. So what was the                       18 it with them.
     19    conclusion following that meeting?                          19   Q. Okay. Did they ask whether you want to
      20     A. Say it again, please.                                  20 be moved?
      21     Q. What was the conclusion or the plan                    21 A. No --
      22   following that meeting?                                     22   Q. Okay.
      23     A. He asked me — Mr. Parks told me — I told               23   A. -- but I told them I didn't want to be
      24   him some of the problems, we went over, due to my           24 moved.
     25    hearing impairment. And he said, "Don't tell me             25   Q. Did they ask whether you had a -- kind of
                                                            Page 102                                                         Page 104
       1 about hearing impairment. I've played golf with a              1 a personality conflict with Mr. Clemons?
       2 man for 20 years. I know all about hearing                     2  A. They said they thought it was.
       3 impairment. If you think somebody's picking on                 3           Okay. Did you agree or disagree with
       4 you, you come to me."                                          4   t hat ?


       5 And that's exactly what we did that morning.                   5    A. I don't think he liked me.
       6 We went to him, you know.                                      6    Q. Okay. All right. Did you like him or
       7   Q. Okay. And then what happened?                             7   dislike him?
       8 A. Nothing happened. In about a month --                       8    A. I try to like everybody.
       9 I'm -- I'm not specific on dates. I didn't know that           9    Q. Well -- and there's some people that you
      10 something      that I really, you know, at that               10   get along with and some people you don't; right?
      11 time. Like I said, they told me I was a pioneer.              11     A. It got to be biased where, you know, I        --
      12 We're working through this. So I was hoping                   12   I -- I didn't -- I can't say I disliked him as a
      13 things would get better, but they got worse.                  13   person, but he wasn't fair.
      14   Q. Following this big meeting it got worse.                 14    Q. Okay.
      15   A. Right. Right, just it was just a mess                    15    A. And he wasn't prepared to work with
      16 from the get-go.                                              16   someone with a hearing disability.
      17   Q. Okay. Was there only one big meeting                     17  Q. How often did you have to work with him
      18   with all of you-all folks   --                              18 directly?
      19    A.   Right.                                                19    A. Every day, daily.
      20    Q.   -- there?                                             zo    Q. Okay. So then you were -- let me ask you
      21    A.   Right.                                                21 this: Was there any other incidences or
      22    Q.   So following this big meeting, it -- it's             22 complaints that you had while you worked in the
      23   your memory that you continued to work in the               23 structures department that we haven't talked
      24   structures department for about a month.                    24 about?
      25    A.   I'm not -- I'm not specific, you know,                25    A.     I went and complained to Niche, Todd
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      1   Bennett. He's on site. Niche is over the whole --           1 A. -- after awhile, you know.
      2   it is a very complicated situation.                         2 Q. -- so do -- do you have notes, then, that
      3     Ginn Group had the contract for general                   3 you've made about issues you encountered at --
      4   maintenance. I'm not even familiar -- like I said, I        4  A. I have some notes.
      5   did not even know this until I went in there. Niche         5 Q. Okay.
      6   took over; kept the Ginn Group.                             6   A. Yes.
            Fventually th_ey_te going_to_b_ring p_e_opLe_in           7 Q. All right. How many different pages of
          with disabilities. 75%, I was told, were going to           8 notes do you have?
      9   have a disability. So they were eventually going            9 A. A few. I can't be specific.
     10   to bring people with disabilities in to weed out the       10 Q. All right. And you have those at home.
     11   Ginn Group employees.                                      11 A. Yes.
     12     Eventually three out of four would have a                12 Q. All right. Can you get those to your
     13   disability, is what it was explained to me after.          13 attorney, as well, please; okay?

     14     Q. Okay. By whom? Who explained that to                  14   A. Huh?
     15   you?                                                       15 Q. If you could give those to your attorney,
     16     A. Todd Bennett had.                                     16 as well, please? And I'll request --
     17     Q. Okay. And he's with Niche.                            17   A. Yeah.
     18     A. Yes. And Jean Robinson, attorney for                  18   Q. -- a copy of those.
     19   Niche, that he sent to speak with me after I went          19   And did you make those notes as these events
     20   to him.                                                    20 were occurring?
     21     Q. When did you speak with Mr. Bennett?                  21 A. Yeah, like when I got home that day; and
     22     A. Mr. Bennett? I think I have the date at               22 then eventually I would keep in my car, and maybe
     23   home. And then about a week later, I'm not                 23 on lunch -- and like I said, just -- I was told this
     24   specific on the date right now, Mr. Bennett sent a         24 was a work in progress. I was a pioneer.
     25   Niche attorney from Washington, D.C., Ms. Jean             25   Q. Okay. How did you know to go to Mr.
                                                            Page 106                                                      Page 108
      1 Robinson, to speak with me -- and she had a                   1 Bennett?
      2 person with her. I don't recall his name -- about             2   A. I know he was over -- he -- over the
      3 the issues that I was having to deal with.                    3 contract. I -- I -- nothing was getting done. They
      4   Q. Were you still in structures at that time?               4 weren't listening. So I went -- I used my chain of
      5   A. Yes.                                                     5 command.
      6   Q. Okay. All right. And you have the date                   6   Q. Okay. And is that something that you'd
      7 at home --                                                    7 learned to do, was to use your chain of command?
      8   A. I believe I do.                                          8   A. Of course. Of course.
      9   Q. -- that you met with Mr. Bennett.                        9   Q. Okay. Where did you learn that?
     10 A. I believe I do.                                           10 A. Lear Corporation.
     11 Q. All right.                                                11 Q. Okay. Tell me about your meeting with
     12   A. But I did speak with Mr. --                             12 Mr. Bennett.
     13   Q. Would you provide that to your attorney                 13 A. We went over it, and he listened to me,
     14 for me?                                                      14 and he made notes, and he tried to address it.
     15 A. I will try.                                               15 And --
     16   Q. Okay.                                                   16   Q. In what way?
     17   A. I'm not for sure.                                       17   A. -- he sent an attorney for Niche, Ms. Jean
     18 Q. What would you have it written on?                        18 Robinson, to speak with me maybe a week or two
     19   A. A piece of paper.                                       19 later. They looked me up and called me to his
     20   Q. Okay. What else is on that paper?                       zo office, and I had a meeting with her and another
     21 A. Different things. You know, different. ..                 21 attorney. I'm not sure of his name.
     22   Q. Different things about what?                            22   Q. Okay. And what -- well, let me ask this:
     23   A. Just different issues that I dealt with, you            23 Did anything else take place in your meeting with

     24 know, when I thought it needed to be wrote down --           24 Mr. Bennett?
     25 Q. Okay. So --                                               25   A. I told him about the -- the bias, the --
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      1 the -- the Davis-Bacon pay, how they was talking            1     Q. -- that's it.
      2 to me; how we had to watch a video about how to             2     A. Right. Made notes, wanted to know the
      8 treat people with disabilities, how how to treat            3   names of who were the ones that were un --
      4 somebody with a hearing impairment.                         4   classified different.
      5 I told him, "I bet they were unprepared."                   5     Q. Okay. Did you ever meet with her again?
      6 Nobody had the training to work with people with            6     A. I believe I did meet with her again.
      7 disabilities. They just threw us to the — just threw        7     Q. Okay. What happened in this follow-up
      8 us in.                                                      8   meeting?
      9 Q. And what did he have to say?                             9     A. You know, I can't be sure that 1 — I know
     10 A. He made notes, and I'm sure he got with                 10   I spoke with her on the phone, but I can't be for
     11 Bill and the rest of them. I I'm not for sure what         11   sure, you know. I -- I think it was just some things
     12 was done. I know he sent an attorney from                  12   that -- that it was going to get better, and and I
     13 Washington, D.C. to speak with me.                         13   think they listened to me.
     14    Q. Did -- did this attorney come specifically           14     And -- and — and I do believe maybe the -- it
     15 to meet with you?                                           s   got the ball rolling, and maybe it's gotten better
     16 A. Yes.                                                    16   since I left. I don't remember.
     17 Q. Okay. Tell me what took place during                    17     Q. Did you ever speak with Mr. Bennett
     18 that meeting.                                              18   again?
     19    A. We went over the issues --                           19     A. I spoke with Mr. Bennett a few different
     20    Q. Same issues.                                         20   times.
     21 A. -- and she made notes. Same issues --                   21     Q. Tell me about those other conversations.
     22    Q. Okay.                                                92     A. Same kind of thing, just how things are
     23    A.     same issues I just told you about,               23   going. And and he said -- same thing, you
     24 about people making different rates of pay for             24   know, "It's something new." And he -- it's -- he
     25 doing the same work; for being classified different.       25   has an open-door policy, and that we could come
                                                        Page 110                                                       Page 112
      1You    know, people getting carpentry pay and                1
                                                                    2 tohmi any time -- that I could come to him at any
      2  plumber's pay for doing what I did --                        time.
      3 Q. And what --                                              3   He said — I told him -- he said, "Ginn Group
      4   A. -- about people getting Davis-Bacon pay                4 don't run this place. Gulf Coast don't run this

      5 for doing the same work that I did.                         5 place. I run this place. Niche runs this place."
      6   I told her about how people were screaming                6 And it wasn't well, liked, to taken well that I

      7 and and and talking down and and about                      7 went to Mr. Bennett when I needed to.

      8 them not being trained, and the issues I faced              8   Q. Okay. By -- by whom?
      9 every day, you know.                                        9   A. By Ginn Group.
     10   Q. And -- and did she explain to you the rate            10 Q. Okay. Did anybody at Gulf Coast have an
     11 of pay issue?                                              11 issue that you went to Mr. Bennett?
     12 A. She listened, and I guess she advised                   12   A. Yes, I guess Bill didn't like it. Nobody
     13 him of certain things. I'm -- I'm not for sure.            13 likes somebody going over their head, do they?
     14   Q. Okay.                                                 14   Q. Okay. Okay. Have we, then, covered all
     15   A. I know --                                             15 the issues or concerns that you had while you were
     16   Q. My -- my -- my question at this point is              16 in the structures department?
     17 what she explained to you. Did she explain                 17   A. You know, I got to where I kind of was
     18 anything to you about the rate of pay?                     18 reserved. I didn't speak to people unless I had to,

     10 A. She explained nothing. She listened.                    19 you know.

     20 Q. All right. So she didn't tell you anything              zo I'm an outgoing — I'm usually a pretty friendly
     21 during this meeting.                                       21 person, you know, but I -- I did start to see --
     22 A. No.                                                     22 and — and I had 20 years and 7 months in with

     23 Q. All right. She sat there and listened to                23 Lear, and they knew I was hearing impaired, and
     24 your complaints; said "Okay. Thank you," and --            24 they treated me very well.

     25 A. Right.                                                  25   And here I'm going to a place that they're
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      1hiring people with disabilities to treat me worse,          1   exactly. That's what they called him.
      2  you know. And it was just a nightmare from the            2    Q. Okay. So when you came in on an
      3 get-go for me. And -- and -- and --                        3   everyday basis at roads and grounds, you'd report
      4   Q. And my -- my --                                       4   to Dennis.
      5   A. -- its -- its really a sad situation.                 5     A. Yes.
      6   Q. Okay. My question is: Were there any                  6    Q. Okay. And he'd tell you what you needed
      7 other specific concerns that you haven't already           7   to do that day.
      8 told me about while you were working in                    8    A. Right, right. He would give me a work
      9 structures? I don't --                                     9   order or a work crew I was working with, where to
     10    A. Yeah, then it --                                    10   go.
     11   Q. -- I don't -- I don't want to -- I don't want        11    Q. Was the set up the same? Some days you
     12 to rehash all that you told me again, but is there        12   would work with yourself and some days you'd work
     13 anything new, is what I'm asking?                         13   with a crew at roads and grounds, or were you
     14    A. Okay. Same thing. It went on and on.                14   always with a crew?
     15    Q. Okay. That's all I need to know.                    15     A. They put me on a cemetery crew when I
     16    All right. So then you went to roads and               16   first started in roads and grounds cutting -- taking
          grounds; correct?                                            care of old cemeteries, weed-eating, mowing
     18   A. Yeah, I was moved against my wishes. I               18   grass.
     10 asked him. He said, "I don't care. Mr. Parks said         19     Q. Who was on -- else is on that crew?
     20 you're going in there." I said, "I don't want to go       20     A. Different people.
     21 in there," and he said, "but you're going."               21     Q. Okay. How long were you on that crew?
     22   Q. And -- and Mr. Parks, again, is a Ginn               22     A. Until Memorial Day, from the first of May
     23 Group --                                                  23   to Memorial Day weekend.
     24   A. Yeah, Ginn Group project manager.                    24    Q. And while on roads and grounds, was your
     25    Q. Okay. Who was your supervisor for roads             25   rate of pay the same as it was at structures?
                                                     Page 114                                              Page 116
      1 and grounds?                                               1 A. Yes.
      2   A. Same people, Mike Johnson. And I say                  2 Q. Okay. So that -- that didn't change.
      3 "Mike Johnson." He's the foreman. He's literally           3 A. It didn't change; no.
      4 the boss, but they have a couple of peoples like           4 Q. Still worked the same shift.
      5 the best of the workers that are elite, but they're          A. Yes.
      8 still general maintenance workers.                         6 Q. Still same number of hours.
      7   Q. Okay. Who -- who did you report to on a               7 A. Yes.
      8   daily basis when you were at roads and grounds?          8 Q. Okay. Did you have any issues while
      9  A. Mike Clemons.                                          9 working on the cemetery crew?
     10     THE REPORTER: I'm sorry.                              10 A. I couldn't use a lot of my hearing aids,
     11     THE WITNESS: Mike Clemons.                            11 you know. I couldn't wear my hearing aids, and it
     12     THE REPORTER: Thank you.                              12   was loud, you know, weed-eating, mowing grass.
     13 BY MR. JOHNSON:                                           13   You know, there's snakes that are back in the
     14  Q. I thought you were moved from                         14   thing, yeah, snakes and -- and different. I mean,
     15 structures --                                             15   you might be in weeds and brush that high, you
     16    A. Oh, the roads and grounds.                          16
     17    Q. Yes, sir.                                           17     Q. Okay. What --
     18    A. Dennis. I was moved -- I'm sorry -- from            18  A. But I didn't dislike it.
     19   roads to ground --                                      19  Q. Okay. Didn't have any complaints with
     20    Q. Yeah.                                               20 any individuals.
     21  A. -- was Dennis -- and 1 don't remember                 21 A. No, not nobody.
     22 Dennis's last name, but he and there -- there was         22     a   Okay.
     23 a guy called "Hippie." He was over -- he's the            23     A. I wasn't happy that I moved --
     24 foreman, and then you just had Dennis, but Hippie         24     Q. No, I understand.
     25 was the foreman, but I don't know his name                25     A. -- but I...
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      1   Q. But -- but you didn't have any complaints          1     Q. Okay.
      2  regarding any --                                       2     A. Gary Matthews; no.
      3   A. No, sir.                                            3    Q. All right.
      4   Q. -- the way anybody treated you on the               4    A. That name sounds familiar to me, but I
      5 cemetery crew.                                           5   couldn't pinpoint "yes" or "no," but.
      6   A. No, sir.                                            6    Q. Okay. Obviously, there was an incident
      7   Q. What crew did you go to next?                       7   that occurred on July 2nd.
      8 A. Just different crews. We might be                     8    A. Yes.         -
      9 painting lines. We might be patching holes with          9     Q. Okay. Were there any incidences or
     10 asphalt, fixing the roads. Might be cutting a tree      10   issues that occurred prior to that date?
     11 down, just different things. You'd rotate around.       11    A. No, sir.
     12   Q. Okay. And -- and your supervisor was               12     Q. Okay.
     13 always Dennis.                                          13    A. I might -- matter of fact, against my
     14   A. Yes. Now, Dennis would send you out,               14   wishes, I liked the job. I ended liking roads and
     15 and you would be with some other workers. And           15   grounds --
     16 somebody usually would just take charge --              16     Q. Okay.
     17   Q. Sure.                                              17     A. — and they treated me pretty well.
     18   A. -- who's been there a while.                       18     Q. And I -- I -- it sounds like you hadn't
     19   Q. Okay. Somebody would become the lead               19   gone to Bill about any issue since you'd been
     20 of that crew on that day.                               20   transferred to roads and grounds.
     21   A. Kind of, but, you know, they weren't, like,        21     A. I can't be for sure. You know, I'd check
     22 appointed --                                            22   in with Bill; okay? It got to be, "How are things
     23   Q. Sure.                                              23   going," and, you know, "Stop by on your lunch," or
     24   A. -- but it's just somebody may have had             24   he may have some paper or — but I would check in
     25 more experience, you know.                              25   with Bill. I respect Bill.
                                                     Page 118                                                        Page 120
      1 Q. Okay. Fair enough. And would Dennis be 1 Q. All right. But, I mean, as -- as you sit
      2 the one that would assign the crews?              2 here today, did you have any complaints that you
      3   A. Yes, yes.                                    3 went to Bill with once you transferred to roads and
      4   Q. How many people worked in roads and          4 grounds?
      5 grounds when you were there?                      5   A. Maybe some Davis-Bacon pay, and and
      6   A. I can't tell you. Maybe 20 or so.            6 I — I did go to him, I believe, once about them
      7   Q. Okay. All right. And so would -- would       7 not -- people putting Davis-Bacon pay down when

      8 you work with all the other 19 people at some     8 they didn't do the Davis-Bacon work. I -- I believe
      9 point?                                            9 we got on an asphalt roller to flatten asphalt, you
     10 A. Yeah, certain times. Some people were         10 know, and they told me to get on there so I could
     11 operators. They will operate heavy equipment,    11 get paid for an hour at $30-some an hour. And I
     12 and -- it's just whatever you really need. I was 12 didn't do it.
     13 kind of, like, the low, low you know.            13   Q. Okay.
     14   Q. You were the new man --                     14   A. But I didn't -- I just I would let him
     15   A. A new man on the --                         15 know problems that were going on.
     16   Q. -- in the -- in the crew; right?                   16  Q. All right. Well, I mean, were there any
     17   A. — crew, so I was just basically a helper           17 problems with the way anybody was treating you on
     18 or whatever.                                            18 roads and grounds?
     19 Q. How about -- did you know Gary                       19 A.     No.
     20 Matthews?                                               20  Q. All right. Now, on -- on July 2nd, that day
     21 A. Who?                                                 21 you were working with whom?
     22   Q. Gary Matthews.                                     22    A. I was working with James Herr [phonetic],
     23   A. Gary Matthews. Not right off --                    23   Ginn Group. I was working with James Rogers,
     24   Q. Do you know who that is?                           24   Ginn Group. And I was working with a Gulf Coast
     25   A. Sounds familiar.                                   25   employee, Jeremy Lowe.
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      1   Q.    Had you worked with Mr. Herr before             1 always good to do asphalt.
      2   A.   I believe I had.                                 2    Q. Okay. How many times would you
      3   Q.   July --                                          3   estimate you had done asphalt before?
      4   A.   Yes, I have.                                     4    A. Maybe three, three or four, maybe five.
          Q.   -- before July 2?                                5    Q. Okay. And tell me what that would
      6   A.   Yes, I have.                                     6  physically require of you.
      7   Q.    Do you know on how many different               7   A. You would just -- sometimes you would
      8   occasions?                                            8 have to go get the asphalt while the other crew
      9   A. A few.                                             9 waited, which you'd have to go off base, down 313
     10   Q. Okay. Less than five.                             10 to an asphalt place. You'd wait in line if people
     11 A. Huh?                                                11 were there. You get the asphalt and come back.
     12   Q. Less than five.                                   12   And you take the asphalt off the truck, and
     13   A. Probably.                                         13 you pack it down in the hole. And you have a little
     14   Q. All right.                                        14 roller, a little roller, you know how you roll, a
     15   A. Pro -- maybe that.                                15 street roller.
     16   Q. All right.                                         16   Q. Uh-huh.
     17   A. I can't be specific.                               17   A. And you'd just roll it.
     18   Q. Did you know Mr. Rogers before this day? 18 Q. Okay.
     19   A. Yes, I'd worked with Mr. Rogers before.            19   A. And you'd go up and down, whatever
     20   Q. Okay. How many times would you                     zo they'd tell you to go on the worksheet --
     21 estimate --                                             21 Q. Okay.
     22   A. Probably about --                                  22 A.      and patch holes.
     23   Q. -- you had worked with him?                        23   Q. All right. Is the roller something that
     24   A. -- the same. I   —                                 24 somebody drives?
     25   Q. Five or --                                         25   A. That somebody's what?
                                                       Page 122                                               Page 124
      1 A. -- it's something that I really -- you know,          1 Q. Drives, or is it something that you -- is it
      2 I worked with them enough.                               2 a -- is it a piece of equipment that you have to
      3   Q. Five or less.                                       3 drive?
      4   A. I can't tell you specifically, but a few            4   A. The roller?
      5 times.                                                   5 Q. Yes.
      6   Q. All right. And then how about Mr. Lowe?             6   A. Yeah, you had to drive.
      7   A. Same.                                               7   Q. Okay. Is that something you had done
      8   Q. All right. Now, were they a part of a               8 before?
      9 regular crew together, or were they like you, as         9   A. No, I didn't.
     10 well?                                                   10   Q. Okay. And then you also had the truck
     11 A. We all rotated different crews.                      11 with the asphalt in it
     12 Q. Okay. And was -- so was it the four of               12   A. And what now?
     13 you on the crew that day?                               13   Q. You also had the truck with the asphalt in
     14   A. Three -- three of us -- three -- James --          14 it --
     15 yeah, four of us counting myself.                       15   A. Right.
     16   Q. All right. You made four.                          16   a   -- as well.
     17   A. Yeah. Yeah.                                        17   A. Right.
     18   Q. All right. Okay. Tell me what you all
                                                -               18   Q. All right. So is that the two pieces of
     19 were doing that day.                                    19 equipment that you have?
     zo A. We were doing asphalt. We were                       20   A. Right, plus shovels --
     21 patching holes.                                         21   Q. All right.
     22   Q. Is this something you had done before?             22   A.     and spreaders.
     23   A. Yeah, a few times. It's the only time I,           23   Q. And -- and had you driven the truck with
     24 you know, would get -- it was a Davis-Bacon thing.      24 the asphalt before?
     25 It was something that paid more money, so it was        25   A. Yes, I have.
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      1 Q.      All right. And so tell me what happened             1 after you-all left the work site about this incident?
      2 on that particular day?                                     2   A. A little while later, right before we left, I
      3    A. It was a hot -- it was a hot day, and it --           3 told him, I said, "I apologize that you don't
      4 it was -- we had about three days of over 100               4 understand my hearing impairment," I said, "but I
      5 degrees. Were doing hot asphalt.                            5 don't like people screaming at me and -- and --
      6    It was towards the end of the day. We were               6 and talking down to me. I've had". .
      7 about done. And at that time, you moved your                7   He's on the phone calling somebody. I don't
      8 trying [phonetic] the truck up to where the holes           8 know who, but I just apologized to him. I said he
      9 are, you know. You'd go and move the truck up.              9 didn't understand how I felt about people raising
     10    The truck was up -- the bed was up a little bit.        10 their voice at me.
     11 So, of course, you moved the truck up, because I           11 Q. Well, was he trying to raise his voice to
     12 don't know how to use the roller. I'm the new guy.         12 get your attention?
     13 Sol kind of just did mop up, you know, a helper.           13   A. I guess so, you know, in hindsight or
     14    So we moved the truck up a little bit. I get in         14 something, you know.
     15 the truck to move it up little bit.                        15 Q. Okay. I mean, what -- what was he trying
     16    Q. Who asked you to move it up?                         16 to get your attention about?
     17    A. Dans -- Herr, some -- I can't be specific            17 A. You know, he -- they tried to say that
     18 who asked, you know. I just -- I -- I knew it              18 there was a -- Jeremy said that I was going to
     19 needed to be moved up anyway, you know. We're              19 dump the asphalt, but that wasn't the case, that
     20 part of the crew. I think James Herr told me to            20 wasn't the case.
     21 move the truck up a little bit.                            21 Q. Well, was the bed of the truck --
     22    When I got in the truck, Jeremy's screaming,            22   A. Yeah, it was -- it was up a little bit, you
     23 and I -- I didn't understand what he -- you know, I        23 know --
     24 couldn't -- I -- I just heard him screaming. So I          24   Q. Okay. What -- what --
     25 moved the truck up and stopped and got out.                25   A. -- so you can get it.
                                                     Page 126                                                            Page 128
      1 And I told Jeremy, I said, "What did you                    1    Q. Okay. Was the -- I -- I've got to ask the
      2 want?" He said, "I was telling you to watch the             2  question, and then you answer. Was the bed of
      3 bed." I said, "Man," I said, "I heard" -- I said, "I        3 the truck tilted in a position where asphalt could
      4 know what I was doing." I said, "Man, don't                 4 fall out of it?

      5 scream at me like that." I said, "I'm not" -- and --        5    A. Not fall out of it. The bed was already --
      6 and in a normal toned voice, "I'm not deaf and              6 already raised. The asphalt's not falling out of it,
      7 dumb, man. You don't have to scream at me. I                7 but I -- you know, I moved the truck up a little bit,
      8 know what I'm doing."                                       8 you know --
      9 "I'm not screaming at you. You" -- and at that              9 Q. Okay.
     10 time, I told Jeremy these exact words. "You've got         10 A. -- like they told me to.
     11 a disability. I have a disability. I accommodate           11 Q. Okay. Could that present a safety
     12 yours. You accommodate mine."                              12 concern of moving the truck with the bed elevated?
     13    He kept on arguing about it and arguing about           13    A. Well, I can't say it did --
     14 it. Finally, he wasn't listening to me. I couldn't         14    Q. Could it?
     15 get my point across to him. I said, "I'm not               15    A. -- but it could have.
     16 arguing with you at work." I said, "I'm done               16    Q. Okay. What -- what could happen?
     17 arguing with you at work."                                 17    A. Oh, the asphalt could just slide, the -- a
     18    He kept on. I said, "Jeremy, I'm not arguing            18 little bit that was left could slide out.
     19 with you at work." I said, "If you want to talk            19    Q. How -- how much of the asphalt was
     20 about it after work, I'll stop at Dodge's and we get       20 there?
     21 something to eat on the way home." He shut up. I           21 A. It wasn't very much, maybe 1/4 of the --
     22 shut up. We went about our work and moved on.              22 of the bed. It holds like a ton, two tons.

     23 Q. Is that it?                                             23    Q. Yeah. How many --
     24    A. That was it. That was the whole thing.               24    A. Maybe a pile like so.
     25 Q. Okay. Was there any further discussion                  25    Q. Okay. How much of the -- I'm sorry. How
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      1 much asphalt would the bed hold?                              1    you've got to understand. I'm working in
      2    A. I think two tons --                                     2    100-and-some degree hot, sweaty heat, and they
      3    Q. Okay.                                                    3   get wet. They're -- they're very delicate
      4    A. -- but it's a -- just a regular,                         4   instruments.
      5   normal-sized Ford pickup truck, but I think it's like        5     See, people -- people don't know. They're not
      6   three -- a one-ton truck.                                    6   knowledgeable about what you. . .
      7  Q. Okay. All right. So the bed would hold                     7    Q. But had anybody at Gulf Coast or Ginn or
       8 two tons, and about how much was le -- did you-all            8   Niche told you that you needed-to keep your
       9 get a full -- full -- load that day?                          9   hearing aids in while you were working?
     113 A. No, we were at the end of the day.                       10     A. Said that would help me, but I could not
     11 Q. No, at the start of the day.                               11   wear sweaty hearing [phonetic] -- sometimes you
     12    A. Yes, start it was a full load ; yes.                    12   have to wear earplugs.
     13    Q. All right. And so about how much was                    13     Q. Okay.
     14   left at the time --                                         14    A. So you can't always wear your hearing
     15    A. I'd say --                                              15   aids.
     16    Q. -- at the time    --                                    16    Q. Okay. Who had told you that you needed
     17    A. -- about 1/4 --                                         17   to keep your hearing aids in?
     18    Q. -- this incident happened?                              18    A. Oh, Bill just told me, you know, that
     19    A. -- about 1/4.                                           19   when -- when I can wear them at that time. And
     20    Q. Okay. And how far did you move the                      20   that -- that was all part of the thing, you know. No
     21   truck?                                                      21   one --
     22    A. Just maybe five feet.                                   22     0. Okay.
     23     Q. Did you have your hearing aids in at the               23     A. I have to explain. When you ask me a
     24   time?                                                       24   question like that, I have to explain to you,
     25    A. I'm sorry.                                              25   because you're not knowledge -- apparently not
                                                          Page 130                                                       Page 132
      1  Q. Did you have the hear -- your hearing       1knowledgeable about a hearing -- what -- what
      2 aids in at the time --                          2 hearing aids are.
      3  A. No.                                         3 You can't have sweat in 103. The heat can
      4  Q. -- of the incident?                         4 damage the hearing aids. And I have a paper I

      5 A. No, I did not.                               5 gave them, that I gave Gulf Coast, about the
      6  Q. Okay. Did you have --                       6 issues that I deal with.
      7  A. It was hot and sweaty.                      7 You can't wear them in the rain. You can't

      8 Q. Okay. Did you have them in at all that       8 wear them with sweat all in them. They squeal.
      9 day?                                            9 They don't work.
     10  A. Yes, I had them in my pocket.              10   Q. Okay.
     11  Q. Did you have them in at all that day?      11 A. And that's what I'm trying to tell them
     12  A. Did I what?                                12 then. It was. . .
     13  Q. Did you wear your hearing aids at all that 13 Q. When -- when did Bill tell you that you
     14 day?                                           14 needed to keep them in --
     15  A. Yes.                                       15   A. I --
     16  Q. Okay. When did you take them out?          16   Q. -- if you could?
     17  A. Once I got hot and sweaty, and they got    17 A. He just it would help certain times. You
     18 wet.                                           18 know, make sure I have them in, and I might not
     19   Q. Okay. How long had you had them out       19 have -- people might -- I might not have enough

     20 prior to the incident?                         20 trouble with them screaming at me and that.
     21  A. Maybe an hour or two.                      21 Q. Were the windows rolled up on the truck
     22   Q. Had you been told previously that you     22 at the time?
     23 needed to keep your hearing aids in?           23 A. Yeah, they said it was. I -- I can't recall.
     24   A. Yeah, I mean -- I mean, nobody told me I  24    Q. Okay. Was the radio on?
     25 had to keep my hearing aids in. I was just --  25 A.  They -- it's been awhile. I don't know.
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      1Maybe    it was.                                            1you
                                                                     know. It had been -- it had been going on for
      2   Q. "Yes," "no," what        --                        a long time, but I don't recall cussing anybody.
                                                                   2
      3   A. They said it was.                                3   Q. Would you agree that your choice of
      4   Q. Okay.                                            4 words probably could have been better that day?
      5   A. I don't recall.                                  5   A. I don't recall -- I don't recall what I said.
      6   Q. Okay. So your answer is "I don't know."          6 I remember telling him something about our

      7 A. I don't know.                                      7 disability. I accommodate his; you accommodate
      8 Q. All right. And was the air up on full that         8 mine. I'm a grown man. I'm not a kid. Don't talk
      9 day in the truck at the time?                         9 to me like a kid.
     10 A. I don't know. Ifs not something -- I got          10   Q. Would you agree that you could have
     11 in it and I'm -- it was just for a minute.           11 handled the situation better that day?
     12    Q. Was anyone else trying to get your             12   A. Maybe.
     13 attention other than Jeremy?                         13 Q. Okay. In what way could you have
     14   A. I don't know. I don't know, you know,           14 handled it better? If you had to go back and do it
     15 just. . .                                            15 over again, what would you have done differently?
     16    Q. And was -- was anyone making any kind          16   A. I probably wouldn't have said nothing,
     17 of signs, you know, waving their hands trying to 17 just -- like I said, this is just -- it kind of
     18 get your attention?                                  18 snowballed; been going on for a while. And

     19 A. I jumped in this truck and moved it five          19 maybe -- maybe we had -- didn't understand, you
     20 feet. I -- I knew where I was moving it already,     20 know.
     21 you know. It was -- it -- it was something -- it     21 At that time, I -- I don't know if I understood,
     29 wasn't -- it was get in and move the truck five      22 you know, really what's going on, you know, the

     23 feet.                                                23 way he was screaming at me, you know. And
     24    Q. I understand, but was anybody trying to        24 maybe I didn't understand, you know, at the time.
     25 get your attention?                                  25 Q. Okay. And -- and you didn't understand

                                                    Page 134                                                       Page 136
      1A.   Not that I recall.                                     1  what?
      2   Q.   Okay. And so when you got out of the                2   A. Why he was screaming.
      3 truck, what -- what was -- who said what first?            3   Q. Okay. And do you understand now that he
      4   A. I told Jeremy, I said, "Hey, man, what are            4 was screaming because of the bed --
      5 you screaming for?"                                        5   A. Well, from what --
      6   "I'm trying to get your attention so you don't           6   Q. -- of the truck was --
      7 drop that asphalt." I said, "Man, you didn't have          7   A. -- he said.
      8 to scream at me. I wasn't dumping that asphalt."           8   Q. -- elevated?
      9 Q. Okay. And then what was said?                           9 A. Yeah, from what he said.
     10 A. That's when I told him that I wasn't deaf              10 Q. Okay. Had you had any issues with
     11 and dumb, and I'd appreciate -- I said -- I've done       11 Jeremy prior to this day?
     12 told them, "Quit screaming and raising your voice         12   A. To Jeremy?
     13 to me." I said, "I'm not deaf and dumb." I said, "I       13 Q. Yes, sir.
     14 accommodate your hearing -- I mean, your                  14   A. No. No, I had a good -- for the most part,
     15 disability. You accommodate mine."                        15 I enjoyed it. I didn't want to go, but I ended up
     16   Q. At any time did you tell Jeremy to "shut             16 liking it. And I had no problems, and everything
     17 his fing mouth"?                                          17 was smooth up until that day.
     18   A. No. No, I did not.                                   18   Q. Had you had any issues with James Herr?
     19   Q. Did Jeremy cuss you at all that day?                 19   A. No.
     20   A. I'm not -- I don't recall.                           20   Q. Or James Rogers.
     21 Q. Did you cuss Jeremy at all?                            21 A. No.
     22   A. Not that I recall. No, it -- it was just. ..         22   Q. And -- and you did make some reference
     23   Q. So is it possible that you did?                      23 during your conversation with Jeremy about going
     24   A. I might have. I don't recall. You know, I            24 to Dodge's Chicken.
     25 was kind of -- I had been aggravated for a while,         25   A. All -- all I said, I said, "I'm not arguing
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      1 with you no more at work." I said, "If you want to           1   I --
      2 talk to -- about it after work, I'll stop at Dodge's         2    Q. As you --
      3 and get something to eat." My exact words.                   3 A. -- don't know.
      4   Q. What is your memory as to the tone of                   4    Q. As you sit here today --
      5 voice that you used when you told him that?                  5 Q. I do not know.
      6 A. Calm, just like I told you.                               6    A. -- as you sit here today. . .
          Q. Okay. Was he in a -- a calm state when                       A. I guess you can interpret things a
      8 you told him this, as well?                                  8 different way. I don't knowl don't know what he
      9 A. He -- Jeremy supposedly had a disability,                 9 thought. I know what I said.
     10 too. He was a Gulf Coast employee. And from                 10 Q. You know what you said, but you don't
     11 what I know, it must have been combat stress,               11 kfanow
                                                                            how Jeremy interpreted it. Would that be
     12 from what I know.                                           12 fair?
     13        THE REPORTER: I'm sorry. From what                   13    A. No, I don't know how he interpreted it.
     14 you know --                                                 14    Q. Okay. Did you go talk to Bill that day?
     15        THE WITNESS: Combat stress syndrome.                 15 A. No, it was at the end of the day. I didn't
     16        THE REPORTER: Thank you.                             16 think no more of it.
     17   A. And he was kind of a hostile person, too.              17    Q. Okay.
     18 And, like I said, that was just -- it was hot that          18 A. It was not something -- it was at the end
     19 day. We're almost done. I've had numerous                   19 of the day.

     20 problems with my hearing or people talking to me.           20    Q. Did you talk to anybody else that day
     21 And he's screaming at the top of his lungs.                 21 about it?

     22 And, you know, in hindsight, you know, after I              92    A. No. I didn't feel they'd do anything about
     23 got out and after we went over it, you know, it --          23 it anyway.
     24 it -- it's just a disagreement that we had.                 24    Q. You knew, obviously, at -- at this point
     25 BY MR. JOHNSON:                                             25 what -- the chain of command and the people that

                                                         Page 138                                                    Page 140
      1Q.  Okay. You mentioned that he was kind of                   1 you needed to report things to; didn't you?
      2 a hostile person, too. Are -- are you a hostile              2   A. Yeah.
      3 person?                                                      3 Q. Who did you next talk to about the
      4   A. No.                                                     4 incident?

      5 Q. Has anybody described you as that way                     5   A. I talked to Bill the next morning.
      6 before?                                                      6   Q. Okay. Let me ask you this before we
      7   A. I mean, you know, if you -- if you do me                   move -- move to the next morning. Is there
      8 wrong, I'm going to stand up for myself, you know.           8 anything else that you recall happening that day
       9 That's true.                                                9 on July 2nd, the day of the incident, that we haven't
     10   Q. Has -- has anybody said to you that they               10 talked about?
     11 think that you're hostile?                                  11 A. No, I just -- it -- it ended. It was over,
     12 A. No, they'll tell you that Chris -- Chris is a            12 you know.
     13 good guy, but he's not going to let you push him            13   Q. Okay.
     14    around.                                                  14   A. He didn't understand how I felt, and we
     15      Q. Okay. Do you know what Mr. Lowe's                   15 weren't getting anywhere.
     16    disability was other than combat stress?                 16   Q. And were you all --
     17     A. I know he got hit by a roadside bomb.                17   A. And I wasn't going to argue in a heated
     18      Q. Do you believe that anybody could                   18 argument at work.
     19    interpret your actions on July 2nd as being hostile?     19   Q. Were -- were you-all having a heated
     20     A. No, because that's not what I meant, but,            20 argument?
     21    you know. ..                                             21 A. Not -- you know, he's trying to explain.
      22     Q. I know you didn't mean it, but did -- do            22 And I don't mean heated, but just trying to get
      23   you think that somebody could view them as               23 your point across. And we weren't getting
      24   hostile or intimidating?                                 24 anywhere. And that's when I said he had disability
      25     A. I -- I didn't give it a thought, you know.          25 and I have one. I'd accommodate his;
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      1 accommodate     mine.                                     1 A. I didn't know.
      2 And then I -- and then a little while later,               2   Q. Okay. Who called you in to make the
      3 as -- as being the man  that I am, I just said, "I'm       3 statement   after you talked to Bill?
      4 sorry you don't understand what I go through               4   A. Gary Nichols.
      5 because of my disability." So however he took it,          5 Q. And what did Mr. Nichols ask you to do?
      6 you know, if it's hard feelings or -- or whatever.         6   A. I was the last one called in to make a
      7 Q. Okay. What would you say, that you-all                  7 statement. And Mr. Nichols told me to make my

      8 had an argument?                                           8 statement specifically up to the point until got

      9 A. A disagreement.                                         9 out of the truck. He said, "Just make your
     10    Q. Okay. That's -- that's the word you'll use         1 0 statement until you exit the truck." So I didn't get

     11 is a "disagreement."                                     11 to explain in my statement the whole situation.
     12   A. [nods head]                                         12    Q. Okay. Did you ever make a statement

     13 Q. I'm sorry. Did --                                     13 that explained the whole situation?
     14       THE REPORTER: I put down that he                   14    A. I believe I did when they called me in to
     15 nodded.                                                  15 terminate me.
     16       MR. JOHNSON: Okay.                                 16 Q. All right. What -- do you recall what
     17    A. Oh, I'm sorry.                                     17 statements you gave to Mr. Nichols?
     18 BY MR. JOHNSON:                                          18    A. I had to make a writing -- a written
     19    Q. That's all right. Did --                           19 statement. I was called into the roads and
     20    A. Yeah. I'm sorry. I said disagreement --            zo grounds foreman's office, that Gary Nichols and
     21 Q. Okay.                                                 21 Hamlet Braxton, the project manager's son, Ryan
     22    A. -- SO --                                           22 Braxton, was his assistant. And they told me to
     23    Q. All right. So that's the word -- that's the        23 make my statement up to -- Gary told me to re --

     24 word you'll use is "disagreement."                       24 make my statement up until the exit the truck.
     25    A. Yeah.                                              25 Q. Okay. And was it your understanding that
                                                        Page 142                                                    Page 144
      1 Q.     All right. Who did you next talk to, then,         1statement    was being taken for safety purposes?
      2  about this disagreement?                                 2 A. I do not know.
      3 A. I talked to Bill.                                      3   Q. Okay. Okay. Did you understand that
      4   Q. All right. And how did that come to be?              4 there was a safety concern relative to that

      5 Did Bill call you in?                                     5 incident?

      6 A. He just -- Bill -- I seen Bill in the                  6   A. I guess, you know, there's safety incident
      7 restroom the next morning, and I told Bill -- he          7 to any -- I mean, for anything, you know. You've
      8 asked me how things were going and -- like we             8 got a moving vehicle.
      9 always do. I said, "Well, everything's going good.        9 Q. All right.
     10 I like" -- I told him that I liked roads and grounds,    10   A. You've got workers on the road.
     11 you know. I had checked in with him before, and          11 Q. So you made that statement for Mr.
     12 things are getting better. And, you know, it was --      12
                                                                 13 A     yss-.- or wrote that out for him.
                                                                     Nic.hole
     13 at least, you know, I wasn't having the incidents I
     14 was having.                                              14   Q. Okay.
     15 And I told him that I had a -- a -- a                    15 A. I wrote it like he told me.
     16 disagreement with Jeremy hollering at me, raising        16 Q. All right. Who else did you talk to that
     17 his voice to me. And a little while later they           17 day?

     18 called me in to make a statement of what                 18 A. Bra -- Braxton, Ryan Braxton was in there
     19 happened. And I was told how to make my                  19 with him.
     20 statement.                                               20 Q. Okay. Did you-all talk about the incident
     21 Q. Okay. Did were you called in to make the              21 or did they --
     22 statement before you talked to Bill or afterwards?       22 A. No, just told --
     23    A. After.                                             23   Q. -- just ask you --
     24 Q. Okay. Did Bill know about the incident at             24 A.  -- me to make my statement, and I was
     25 the time you talked to him?                              25 the  last one called in to make it.
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      1   Q. Okay. And was what you wrote in the                  1 house and said — where he had called me from.
      2 statement true and accurate?                              2 And he said, "Hey, we're suspending you with pay."
      3   A. Yes.                                                 3 And I says, "Suspending me with pay? At 7:00 at
      4 Q. Okay. And did you include in that                      4 night?" I -- I didn't understand.

      5 statement as much detail as you could recall about        5   He said, "I don't really know." He said, "I was
      6 what had happened prior to you exiting the truck?         6 told to tell you you're suspended with pay, and I'll
      7 A. I can't remember -- it's been awhile. It's             7 get back with you and let you know."
      8 been a couple years — exactly when I made --              8   Q. Okay. What happened after that?
      9 exactly what's went on since then.                        9   A. I was off work -- I think that was a
     10 Q. Okay. But, I mean, at -- at the time, did             10 Tuesday. I was off work until Mr. Allen Harbin
     11 you try to include as much information as you            11 called me to come in to work or he called me the
     12 could --                                                 12 next day, and we went over the incident, I believe
     13   A. Yeah, up to when he said --                         13 it was.
     14   Q. Yeah.                                               14    Q. Okay.
     15   A. -- to stop my statement.                            15 A. I don't know the exact date, but I --
     16   Q. Okay. All right. And then after you made            16    Q. Okay.
     17 the -- the handwritten statement, who did you talk       17    A. — did speak with Al Allen Harbin due to
     18 to after that?                                           18 the incident. He called me at home.
     19   A. At the time, I went back to work, and I             19    Q. All right. So you talked to him about the
     20 worked the rest of the day. And I believe that was       20 incident. And then did he give you any decision as
     21 early, like, 8:00 in the -- that morning. I made a       21 to what your status was at that point, or did he
     22 statement; went out on a crew.                           22 call you --
     23   Q. Okay. Did you work with Jeremy that                 23    A. Not at --
     24 day?                                                     24    Q. — back later?
     25   A. No, they put that in a building that we             25    A. — that time; no.
                                                        Page 146                                                    Page 148
      1   stored. Later that day, when we take our                 1Q.   Okay. Did somebody call you back at
      2   equipment back to a building that's -- where we          2 another time?
       3 was. There's a building next door that they own,          3   A. They called me and told me to come to
       4 James Herr, Jeremy Lowed, and James Rogers                4 work on that Monday, the 9th. "Could you come in
      5 was all sitting at a table. They didn't have work          5 today?" And I said, "Yes, sir." Told me to be
       6 that the rest of that day. They just sit there.           6 there at 4:00, I believe it was.
       7 Q. Okay.                                                      Q. Okay. And who did you meet with at that
       8   A. So I don't know why.                                 8 time?
       9 Q. Okay. But did you talk to any of those                 9   A. At that time, I came in. I came into Bill's
     10 three that day?                                           10 office. We sat down. He called Allen Harbin on
     11 A. No.                                                    11 the phone, on the speakerphone. And he said,
     12    Q. Have you talked to any of those three               12 "How are you doing? Thanks for coming in,"
     13 since the incident on July 2?                             13 roundabout. I couldn't be specific — exact words.
     14    A. No, I haven't seen them.                            14   He said, "We decided that we're going to
     15 Q. All right. And you haven't talked to them.             15 terminate you due to threats of violence." He
     16    A. No.                                                 16 said, "We're afraid that you're going to carry out
     17    Q. Okay. What happened later that day?                 17 your threats." He said he was afraid I was going

     18    A. I come back to work, and it was like a              18 to carry out my threats.
     19 normal day. I filled out my work sheet for the day.       19   And I told him at that time, "I never
     20 I went home.                                              20 threatened anyone. I didn't threaten anyone."
     21 It was my daughter's birthday, July 3rd. I get            21 And I said, you know. ..

     2 9 home. I had a missed call about 7:00 that night.         22   And he said, "Well, we're terminating." And
     23 My grandmother had called and said that somebody          23 I — I just said, "Oh, could" -- I said, "Am I going to
     24 from Gulf Coast was trying to get ahold of me.               get my unemployment?" And he said he didn't
     25    At that time, I called Bill van Cleave at his           4 know.
                                                                  25

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      1     Q. Okay.                                                1      Q. And what did he say?
      2     A. And I told Bill at that time that I was              2      A. I don't know if it was before they
      3   okay. And and I thanked him. He'd been good                3   terminated me, or maybe it's after, you know.
      4   to me. He tried to tried to make things better,            4     Q. Okay.
      5   but he said that I was terminated due to threats of        5     A. So much a lot of times with my --
      6   violence. He was afraid I was going to carry out           6     Q. What do you remember him -- he -- what
          my threats.                                                7   do you remember Mr. Bennett saying to you?
      8     Q. That's what Mr. Harbison [sic] said.                  8     A. I'm sorry?
      9     A. Yes, Mr. Allen Harbin. I -- I suspect                 9     Q. What do you remember Mr. Bennett saying
     10   that's who it was. That's who he identified --            10   to you?
     11     Q. Okay.                                                11     A. He just listened to me, and, you know,
     12     A. -- hisself as. He was on speakerphone                12   they -- I told him what happened asked, and --
     13   from Pensacola, Florida.                                  13   and -- really, you know, he didn't say anything
     14     Q. Have you talked to anybody at Gulf Coast             14   other than, I guess, he was going to check into it.
     15   since July 9th?                                           15     I just told him I wanted my job and that -- you
     16     A. I called the -- whatever the vice president          16   know, that I didn't threaten anybody. And it had --
     17   is afterwards, that I wanted to, you know -- I I          17   I had complained many times, and it just was a
     18   tried to explain how -- I tried to keep my job. I         18   misunderstanding.
     19   wanted my job. It -- it was was getting better,           19     Q. Uh-huh. How -- how do you claim -- or
     20   you know.                                                 20   what did -- strike that.
     21     I liked my job. I needed my job. And I left a           21     What is your claim of discrimination with
     22   message, but I don't think he ever called me back.        22   respect to Gulf Coast?
     23     Q. Do you remember who that was?                        23     A. Not getting the Davis-Bacon pay. I
     24     A. Yeah, I would know it. I could tell -- I             24   applied for a plumbing job. I wanted to get out
     25    could find out who it was. I know he was the vice        25   of -- get away from, you know, where I was in
                                                         Page 150                                                       Page 152
      1   president.                                      1 structures and that.
      2    I talked to Jean Robinson, the attorney for    2  And I asked them -- I had an interview with
      3   Niche.                                          3 Mr. Parks. Mr. Bennett was in there. They -- they
      4  Q. And what did she say?                         4 post a job that's up, and I wanted a plumbing job.

         A.  She    agreed.   You know, she listened  to  5 And I asked them -- I interviewed for it.
      6 me, and -- and told me, you know, "File for       6  They said, "Would you be willing to go to
      7 unemployment and". . .                            7 school?" And I said, "I would." And I said, "If I
      8  Q. Did she tell you anything else?               8 got into schooling, could I — you know, could I
      9  A.  She    just said she would check,  and --    9 move into plumbing or something?" And they told
     10 and, like I said, they made these statements     10 me they couldn't guarantee it at the time.
     11 against me, so, you know. . .                    11 I didn't get the plumbing job that I interviewed
     12  Q. Did you ever speak to the vice president 12 for. I thought — they gave it to another guy
     13 of Gulf Coast, or was that just a voicemail?     13 younger than me, a Gulf Coast employee.
     14  A. To Allen -- or to the guy, the vice          14   And I know many times that I didn't get the
     15 president?                                       15 Davis-Bacon pay, that we would hand our paper in,
     16  Q. Yes, sir.                                    16 that the guy I worked with got Davis-Bacon pay for
                                                         17 doing the same work as me.
     17  A. No, I never spoke with him. I left a
     18 message, but.. .                                 18   Q. Do you know why that was?
     19  Q. All right. Did you ever speak to Mr.         19   A. I don't know why. I said just
     20 Bennett again?                                   20 discrimination.
     21  A. No.                                          21 a I mean, was that pay -- how many times
                                                         22 did that happen?
     22  Q. Did you ever --
     23  A. Oh, yes, I did speak with Mr. Bennett.       23   A. Many times that you'd do something or he
     24 Yeah, I did speak to Mr. Bennett. I don't recall 24 wouldn't -- you know, they'd put me off. On a
     25 exactly when.                                    25 Saturday, we're painting. It pays Davis-Bacon

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      1 pay. At that time they brought people from other              1  A. I don't know. He was in a different shop.
      2 shops, but I wouldn't get to paint. I'd have to do            2  Q. You don't know his name or her name.
      3 something else. I wouldn't get the Davis-Bacon.               3  A. No. No. I know I offered to go to school,
      4 I'd only get my regular pay. Different incidents.             4 and told them I would enroll.

      5   Q. How many times?                                          5   Q. Did that person have a disability?
      6   A. Three or four.                                           6   A. I believe so.
      7   Q. Okay.                                                    7   Q. Okay. Do you know --
      8   A. Plus the job that I applied for that I                   8   A. I'm not --
      9 offered to go to school. I would have enrolled in             9   Q. -- if that person already had a plumbing
     10 school.                                                      10 license?
     11 Q. All right. So there were three or four                    11 A. No, he didn't.
     12 occasions in which you thought did you not get               12   Q. Okay. But, again, it was the Ginn Group
     13 Davis-Bacon pay because of --                                13 who determined who got that position.

     14   A. Yes.                                                    14   A. Yeah.
     15 Q. -- some discrimination.                                   15 Q. Okay. Well, how -- I guess I'm a little
     16   A. Yeah.                                                   16 confused. How -- how do you claim Gulf Coast

     17   Q. And -- and was it the Ginn Group who                    17 discriminated against you with respect to that
     18 would determine whether you got Davis-Bacon pay              18 plumbing position when they didn't make that
     19 or not?                                                      19 determination?
     zo A. Yes, sir.                                                 zo A. Well, the guy was a -- a tool room
     21   Q. All right. What would have been the                     21 attendant. He didn't work out there doing different
     22 differential in your rate of pay had you gotten              22 forms of work, like I did myself.
     23 Davis-Bacon pay?                                             23   And then I volunteered -- I -- I had done some
     24   A. If you're rolling with a roller, painting, I            24 plumbing, you know. And I offered to go to school.
     25 think it paid 19.05. If you painted with a brush,            zs And I didn't get the job.
                                                          Page 154                                                     Page 156
      1    they're cutting in, I think you got 26.26, I believe        1    Q. I understand, but it -- it doesn't sound
      2    it was, an hour.                                            2  like Gulf Coast had anything to -- to do with who
       3    Q. Okay. So $7 or so an hour.                              3 got that position; correct?

       4    A. I guess so, whatever it is.                             4    A. I -- I don't know. I -- I really don't know.
       5    Q. Okay. All right. Now, you also made                     5    Q. Okay.
       6   mention that you applied for a position.                    6    A. I don't know what goes on behind the
       7    A. Yes.                                                    7 scenes.
       8    Q. Okay. Who determined whether you got                    8    Q. All right. But --
       9   that position or not?                                       9    A. I know that I wanted it, and they knew I
     10     A. Ginn Group, Steve Parks.                               10 wanted it.
     11     Q. And that was a plumbing position.                      11 Q. And it's your testimony that Steve Parks
      12    A. Yes.                                                   12 determined who got that position.
      13    Q. When did you apply for that position?                  13    A. I believe so --
      14    A. Within that time frame, four or five                   14    Q. Okay.
      15   months after I started. I'm not for sure. I did            15     A. -- from what I know.
      16   interview.                                                 16    Q. Okay. What other ways, if any, do you
      17    Q. And who did you interview with?                        17   claim that Gulf Coast discriminated against you?
      18    A. Todd Bennett, Steve Parks, and a                       18    A. Just on breaks and that, you know. I
      19   plumbing supervisor.                                       19   wasn't -- I didn't -- my rules weren't the same
      20    Q. Okay.                                                  zo rules. There's double standards.
      21    A. And I don't know his name.                             21 Q. All right. And you referenced earlier the
      22    Q. And -- and who was the individual that                 22 smoking. If you didn't smoke, you didn't get to      --

      23   got that position?                                         23  A. Right.
      24    A. A Gulf Coast employee.                                 24  Q. -- take a break.
      25    Q. Okay.                                                  25  A. Right. You know, just --
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      1   Q. All right. Was there --                          1 some diff — some — these ain't right. They ain't
      2   A. -- just --                                       2 the same."
      3   Q. -- was there any --                              3   You know, they — they didn't listen to me at
      4   A. — picking at me.                                 4 all. They didn't even read the statements, as far
      5   Q. -- any other way?                                5 as I'm concerned. There's no way you could read
      6   A. Maybe just not getting the Davis-Bacon,          6 those statements and terminate me, and not listen
      7 you know not ettin to so on that crew as much.        7 and know something was wrong. And, to me, that's
      8 I didn't get the same amount. They always had a       8 discrimination.
      9 lot more Davis-Bacon work than I got.                 9   Q. All right. So its -- it's your belief that
     10   Q. Okay. All right. You already told me            10 you were terminated by Gulf Coast because you
     11 about that, so I don't want to replow the --         11 had made complaints on the job.
     12   A. I -- I --                                       12   A. Yes.
     13   Q. -- same ground.                                 13   Q. And because you went to Mr. Bennett.
     14   A. No more that I can recall, you know, right      14   A. Yes, over their heads.
     15 off.                                                 15   Q. And -- and because you had filed an
     16   Q. All right.                                      16 EEOC complaint.
     17   A. So...                                           17 A. Yes.
     18   Q. So those -- not getting Davis-Bacon, the        18 Q. All right.
     19 plumbing position, and double standard on breaks     19   A. And I had complained on -- on the
     20 is the only ways that you claim Gulf Coast           zo supervisors talking to me, to Bill.
     21 discriminated against you.                           21 Q. All right. That -- that -- that's what I
     27   A. Well, did you see my EOC complaint?             22 presumed you --
     23 Because I know I have some different issues on       23   A. Okay.
     24 there, but I --                                      24   Q. -- meant when you --
     25   Q. Well --                                         25   A. Okay.
                                                  Page 158                                                 Page 160
      1 A. -- can't recall at this time what-all they         1 Q. -- based on your complaints.
      2 were.                                                  2 A. Well, I meant numerous complaints.
      3 Q. Okay. Well, I'm -- I'm here to find out all         3 Q. Right. All right. Did you file income tax
      4 the other ways that you claim that you were            4 returns in 2009, 2010, and 2011?
      5 discriminated against.                                 5  A. Yes, I file a tax return every year.
      6   A. Okay.                                             6  Q. All right. I've not been provided those.
      7 Q. Are -- are there any others?                        7 If you can provide those to your counsel so that so
      8 A. Not that I can recall.                              8 we can have copies of those, please?
      9 Q. Is it your claim that Gulf Coast                    9  A. Say it again, now.
     10 discriminated against you by terminating you?        10   Q. I have not yet been provided copies of
     11 A. Yes.                                              11 those.
     12 Q. Okay. What's the basis of that?                   12 A. A copy of what years?
     13   A. Just from my complaints and me going            13   Q. 2009, 2010, and 2011.
     14 over their head to Todd Bennett; them calling        14   A. Okay.
     15 Niche down. And I filed an EOC complaint, which      15 Q. So if you can get those to your counsel?
     16 they said I done something that I didn't do by       16   A. Okay. Okay. Did you ask for those?
     17 threats of violence.                                 17   Q. We had. So if you can look into that and
     18 Q. All right. Any other ways that you claim          18 get those for us?
     19 that -- or that are the basis of your claim that you 19   A. I thought I gave you what -- what I was
     20 believe Gulf Coast discriminated against you in the 20 asked for.
     21 termination?                                         21 Q. Yeah, I've only been given 2012
     22   A. They -- they let people make statements         22 and 2013.
     23 that didn't add up and didn't use them or — you      23   A. Okay. Okay.
     24 know, they didn't look into it. They didn't read the           Andd then if you have W-2s on all those
     25 statements and say, "Hey, wait a minute. There's     254 ye
                                                             2    Q; r s-
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      1 A. Okay.                                                      1 A. How did I know that?
      2 Q. -- in addition to 2012 and 2013, please                    2    Q. Yeah. How did you know that Mr. Waters
       3   provide those, also.                                       3   was aware you had complaint of the way you had
       4     A. Okay.                                                 4   been treated?
       5   Q. You listed a number of individuals. I                   5    A. Because I've tried to speak to Mr. Waters
       6   want to go over some of those —                            6   and his son -- or his father-in-law. I had went to
             A. I left something out that I've recalled               7   them. I tried to speak with Mr. Waters. I've asked
       8   since then, too.                                           8   for Mr. Waters.
       9   Q. Okay. All right. Well, well get in --                   9  irectO
                                                                              lyk?ay. Did you ever speak with him
     10     MR. BOYLAN: Can we take a break                          10 directly?
     11before you do that?                                           11    A. Never got -- never got to.
     17     MR. JOHNSON: Sure. Yeah.                                 12    Q. Okay. So are -- are you aware as to what
     13 [WHEREUPON, a brief recess is taken.]                        13   knowledge he has?
     14 BY MR. JOHNSON:                                              14    A. Yeah, he's the one that terminated me.
     15 Q. All right. Mr. Slaughter, you've identified               15   He's the one that sent word to terminate me.
     16    some individuals that may have knowledge                  16    Q. Okay.
     17    regarding some of the facts of this case, and --          17    A. He's the one that filled out the papers
     18      A. Yes. Yes.                                            18   that says threats of violence and that.
     19   Q. -- and I just want to go over that list. A              19    Q. Okay. So you -- you have some paper
     zo lot of them we've already talked about, so I'm not           20   with his signature on it.
     21 going to repeat some names that -- that we've                21    A. Yes.
     22 already discussed. All right. There was a Richard            22     Q. Okay.
     23 Waters.                                                      23    A. Yeah, signed terminated due to threats of
     24      A. Richard Waters.                                      24   violence, Richard Waters.
      25     Q. Who is he?                                           25     Q. Okay. Then you have Mark Heck,
                                                          Page 162                                                      Page 164
      1 A. Richard Waters was a project manager at                    1H-e-c-k.    Who is he?
      2 the Ginn Group when they had the contract for                 2    A. Mark Heck's a worked, a Ginn Group
      3 themself, you know, for just them. Then Niche                 3   worker.
      4 took over, and he goes to Niche and works for                 4    Q. All right. What does he know?
      5 Niche.                                                        5    THE REPORTER: I'm sorry. He's a what?
      6    After the complaints and all these things has              6    MR. JOHNSON: Ginn --
      7 started going on and I'm hired in [phonetic] and              7     THE WITNESS: A Ginn Group --
      8 I'm -- I'm not familiar with the operation or how             8    THE REPORTER: Thank you.
      9 they do things. After I had complained -- and I               9     THE WITNESS: G-i-n-n Group, Ginn
     10 complained to Mr. Parks. That was his son-in-law.            10 Group.

     11 I mean, Richard Waters is Steve Parks son-in-law.            11 BY MR. JOHNSON:
     12 He moved to Gulf Coast, and he was the project               12     Q. What does he know?
     13 manager of Gulf Coast. He became Bill van                    13   A. He's -- just situations I had to go
     14 Cleave's supervisor.                                         14 through, and -- and right off the bat, me and him

     15 Q.       Okay. What does Mr. Waters know about               15 worked together. He didn't know, and he screamed
      16    these facts?                                             16 at me one day, "Hey," and -- and was talking to me

     17 A. He's the one that filled the papers out                   17 loud, hostile. And I just explained to him, I said,

     18 that I was term -- you know, that -- that they was           18 "Man, I'm sorry. I don't always hear you. I'm
     19 terminating me due to this threats of violence. He           19 hearing impaired."

     20 didn't -- knows that I had complained, you know.             20   And -- and he told Todd Bennett that, you
      21 Q. Did he know that you had complained?                     21 know, "Chris explained. I didn't know he was
      22 A. Yes.                                                     22 hearing impaired. I don't know what" — they don't
      23 Q. How -- how did he know --                                23 tell people what their disabilities are. They didn't
      24     A. I had complained on him.                             24 go over what people was going to what their

      25   Q. How did you know that?                                 25 disabilities were. They didn't tell these people
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      1  they were working with.                                 1      After the meeting, I walked up to Mikey
      2   And after that, you know, he knew, you know,            2   Clemons, and I said, "Mike, you know, I don't hear
      8 some of the problems I was dealing with, but he's         3   well. Make sure I hear what you said." And I --
      4 somebody that I educated about what! go through.          4   "Why can't you hear?" And Dave Anderson
      5 And and he he was great ever since then, but              5   happened to be sitting there --
      6 we did have an incident about my hearing.                 6     Q. Okay.
      7 Q. Okay. And once he became                                     A.     on that -- on that -- on hat incident.
      8 knowledgeable, did you have any more incidences           8     Q. Okay. Does -- according to your
      9 with Mr. Heck?                                            9   knowledge, does Mr. Anderson know anything else?
     10 A. No.                                                   10     A. Yeah, he knows that we were taking their
     11 Q. Is he somebody that you keep in touch                 11   jobs, but from what I understand now, he moved.
     12 with?                                                    12   He had a disability, and he moved to Gulf Coast
     13    A. Yeah.                                              13   and works —
     14    Q. Are you-all friends?                               14     Q. Okay.
     15 A. Yeah, we're friends.                                  15     A. -- for them now.
     16    Q. When's the last time you've seen him or            16     Q. All right. Then Ronnie, it's i-e, Ammons,
     17 talked to him?                                           17   A-m-m-o-n-s --
     18 A. He works at Zachry now, but I worked                  18     A. Right.
     19 with his girlfriend worked there with me before,         19     Q. -- what does he know?
     zo but, you know, he works and, I mean, we you              20     A. He knows the same things, the problems
     21 know. I mean, yeah, we're friends. I'm friends           21   that I've had, you know, working in that shop,
     22 with a lot of them.                                      22   and — and -- and not being able to hear, and them
     23    Q. Okay. When did he leave Ginn Group?                23   not being prepared for working with people with a
     24    A. He left Ginn Group -- I'm --I m not fam --         24   hearing impairment.
     25 I'm not sure.                                            25     Q. Okay. And was Mr. Ammons a Ginn Group
                                                      Page 166                                                    Page 168
      1Q.  And do you know why he left Ginn Group?                1 employee?
      2   A. No.                                                   2   A. Mr. Ammons is a Ginn Group; yes.
      8 Q. Is he still at Zachry?                                  3   Q. All right. Then Jeff Boone, B-o-o-n-e.
      4   A. Yes, recently at Zachry. He hasn't been               4   A. Yes.
      5 there long.                                                5 Q. What does he know?
      6   Q. Then I have a Dave -- is it Anderson --               6   A. He is a Gulf Coast with a disability, and
      7 A. Dave Anderson.                                          7 he knows that, you know, they put us in a situation
      8 Q. -- at the Ginn Group. What does he                      8 that they weren't trained to work with people with
      9 know?                                                      9 disabilities, you know. Weren't ready to work with
     10 A. Well, he knows he was in there when                   10 my disability, but...
     11 they told me why — Mikey Clemons asked me.why I          11 Q. Do you know how long Gulf Coast had
     12 couldn't hear.                                           12 been working under that system at Fort Knox?
     13   Q. Okay.                                               13    A. I -- I did not know. I knew nothing about
     14 A. He was sitting in the break room. See,                     Gulf CCoast whatsoever until the day I worked in
     15 sometimes I might — hearing aids don't mean you          115
                                                                   4       e.
     16 always hear everything people say. They only help        16    Q. Okay. Then David Bowling, B-o-w-l-i-n-g.
     17 you hear.                                                17    A. David Bowling, Ginn Group employee, I --
     18   We'd have a meeting, and I'm sitting over here         1 8 just someone I worked with, you know, that that

     19 in this big room. And people are talking, and --         19 knows that -- he was scared he was going to lose

     20 and he's -- we have a safety meeting every               20 his job any time. They all were scared that they
     21 Thursday.                                                21 were going to be the next ones to go, which they
     29   Well, he said something about the paint. And           22 told them they were going to go. Eventually they
     23 it was a safety issue that I thought it was              23 were going to go.
     24 important enough to make sure I heard him                24    Q. Jordan Kay, K-a-y.
     25 correctly.                                               25    A. Yes.
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      1     Q, What does --                                       1     Q. Okay. But you --
      2     A. Gulf --                                            2    A. I -- I don't understand. I don't know. I
      3     Q. -- Jordan know?                                    3   can only tell you no.
      4     A. Gulf Coast employee. Same thing, come              4     Q. But you never had any issue with Mr.
      5   in with us.                                             5   Dixon at all.
      6     Q. Does he know -- what does he know                  6    A. Never issues. No issues with Zach.
      7   about -- about you and your claim?                      7     Q. Did he ever have an issue with you?
      8     A. Just -- me and him just -- just -- my              8    A. Not that I know of.
      9   hearing problems that he didn't know. You know,         9     Q. Okay. Who is Don Woods?
     10   would tell me something and get aggravated             10     A. Don Woods is a friend that I worked with
     11   because I don't hear. You know, might ask twice        11   at Lear for 20-some years.
     12   or grab the wrong thing.                               12     Q. Okay. And what's he know about all of
     13     Q. And then a Glenn Terry.                           13   this?
     19     A. Glenn Terry.                                      19    A. He -- he made -- when — at Lear, he
     15     Q. yes.                                              15   always took care of me and my hearing and — and
     16     A. He is a Ginn Group employee, and I                16   watched out for me. And we usually worked
     17   worked with him, you know, just knowing that I         17   together.
     18   have trouble communicating with people.                18     He knows I had an impairment. He -- he
     19     Q. And then Zach Dixon.                              19   knows what I went through, and he always -- you
     20     A. Zach Dixon, Ginn Group employee.                  zo   know, he's my friend, someone I talk to. One of
     21     Q. What does he know?                                21   my best friends.
     22     A. He's -- made a false statement against            22     Q. Were there any complaints made about
     23   me.                                                    23   you while you worked at Gulf Coast?
     24     Q. Okay. In what way?                                24     A. Not that I know of, not -- nothing that was
     25     A. Said that I told him to meet me at                25   brought to my attention other than this with Jeremy
                                                      Page 170                                                      Page 172
      1 Dodge's at -- around some date, that the incident         1 Lowe.
      2 didn't take place. Said I gave him the finger at a        2   Q. Did you ever any -- ever have any
      3 stop sign while I was on the side of the road.            3 discussions with Bill van Cleave about things that
      4   Q. Did -- did any of that take place?                   4 you needed to do differently?
      5   A. No, sir.                                             5  A. He told me to have patience and
      6   Q. Did you ever have any incident with Mr. --           6 tolerance, but that — you know, just like we would
      7 Mr. Dixon?                                                7 talk. It's not something, you know, was written or
      8   A. No.                                                  8 write up or something, you know. We would just
      9   Q. None at all.                                         9 talk about it.
     10 A. No, not until -- I mean, I did once, you              10   And he's the one that always stressed that I'm
     11 know. Statements were made. I mean, you know,            11 a pioneer. He said we're the first ten people
     12 he's another one that — that we're taking their          12 they've ever hired. It's a work in progress. That's
     13 work, you know. They — that we weren't well liked.       13 what I was told.
     14 I wasn't well liked at all.                              14   You know, "We're working through it, and, you
     15 Q. Why is that?                                          15 know, I think we're going to have a good thing one
     16   A. I couldn't hear.                                    16 day."

     17   Q. Okay. Was there a time in which Mr.                 17   Q. And to your knowledge, were there any
     18 Dixon told you not to -- not to touch him?               18 disciplinary actions or corrective actions taken
     19   A. No. No.                                             19 against you during your employment at Gulf Coast?
     20   Q. Not to put your arm around him, not to              20   A. No.
     21 poke him, nothing like that.                             21 Q. Okay.
     22   A. Me and Zach were friends I thought, I               22   A. Never.
     23 mean, you know, where we were compatible. I              23   Q. Do you know the amount of damages that
     24 mean, he was good friends with — with Steve Parks        24 you're claiming in this action?
     25 and those. He's -- he -- he —                            25 A. It's a fair — it's fair to me.
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                                                     Page 173                                                      Page 175
      1     Q. Okay. And is there a certain amount that            1    Q. Three months behind.
      2   you are claiming?                                         2   A. Yes. I had perfect credit, too.
      3     A. I'm sorry?                                           3 [WHEREUPON, off-the-record remarks are
      4     Q. Is there a certain amount of damages that            4 made.]
      5   you are claiming?                                         5 BY MR. JOHNSON:
      6     A. Yeah.                                                6   Q. All right. So how is your credit ruined
      7     Q. And what is that amount?                             7 now?
      8     A. 500,000, and around my lost wages, I                 8   A. Well, I've defaulted on the--- on the car.
      9   believe it's around $6,000.                               9 I couldn't get a car loan.
     10     Q. And what is the $500,000 for?                       10   a Do you have a car now?
     11     A. Pain and suffering, and they ruined my              11 A. Yeah.
     12   credit. They have me behind on child support.            12   Q. And what kind of car?
     13   They embarrassed me. They made false                     13   A. 2002 Nissan Sentra.
     14   statements against me.                                   14   Q. And is it paid for?
     15     They repossessed my car; got behind on rent;           15   A. Yeah, but I have a Trailblazer, too.
     16   gad to borrow money. They give me a poor                 16   a Okay.
     17   reference, and never listened to my complaints. It       17      THE REPORTER: I'm sorry.
     18   should have never got to this point.                     18      THE WITNESS: A trailblazer.
     19     Q. What was the difference in what your                19      MR. JOHNSON: Okay.
     20   take-home pay was versus what you were drawing           20      THE REPORTER: Thank you.
     21   on unemployment?                                         21 BY MR. JOHNSON:
     22     A. I couldn't tell you. You'd have to figure           22   Q. When did you get the Nissan?
     23   it up yourself, you know.                                23   A. About -- about last fall about this time, I
     24     Q. Okay. Prior to being terminated from                24 believe it was.
     25   Gulf Coast, had you been behind on your child            25   Q. And did you pay cash for that?
                                                        Page 174                                                   Page 176
      1 support payments?                                           1   A. Yes.
      2  A. No.                                                     2 Q. Okay. And --
      3 Q. You were even --                                         3   A. With my tax return.
      4  A. Even.                                                   4   Q. All right. What's the year on the
      5  Q. -- and making timely payments.                          5 Trailblazer?
      6  A. Even. As a matter fact, I'm -- I'm even                 6   A. I've had it since '07 when I was married.
      7 now and I haven't been working.                             7 Its a gas hog.

      8  Q. All right. When was your car                            8 Q. Is it paid for?
      9 repossessed?                                                9   A. Yes.
     10    A. My car was repossessed in the fall                   10  Q. Okay. Is there any other basis for this
     11 of 2012.                                                   11 $500,000 that you're seeking?
     12  Q. How much did you owe on it at the time it              12 A. Did you read the statements they made
     13 was repo --                                                13 against me? I'm sure you did, Mr. Johnson, and
      4  A. It was a brand-new car. I bought it in                 14 that's pretty pathetic to make bogus statements up
     15 2012, March/February 2012.                                 15 that don't even match and terminate me when they
      6    Q. Where did you buy it from?                           16 didn't listen to my complaints the many times I
     17  A. I'm sorry?                                             17 went to them.
     18 Q. MI sorry. Where did you by it from?                     18 They fought my unemployment; said they was
     19  A. Oxmoor Ford, 2012 Focus.                               19 terminating due -- because he was afraid I was
     20  Q. And when -- do you remember what month                 20 going to carry out my threats. Sad, man.
     21 it was repossessed?                                        21 Q. Have you shown those statements to
     22 A. Not exactly. I can't remember, so. . .                  22 anyone?
     23  Q. How far were you behind on the                         23  A. Yes.
     24 payments?                                                  24   a Who did you show them too?
     25 A. Three months behind.                                    25 A. Jean Robinson.
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                                                     Page 177                                                      Page 179
      1 Q. Okay.                                                  1     A. Okay.
      2   A. Unemployment commission.                             2     Q. Mr. Slaughter, have we covered the basis
      3   Q. All right. What did Ms. Robinson say?                 3   for your claim today?
      4   A. She told me to obtain an attorney.                    4    A. Yes, I believe we did.
      5   Q. Okay. And did you show them to anyone                 5    Q. And have we covered the damages you're
      6 else other than her and the unemployment                   6   seeking and the reason why you're seeking those
      7 commission?                                                7   damages?
      8   A. Yes. Yes.                                             8    A. Yes, sir.
      9 Q. Who -- who else?                                        9    Q. All right. Have I given you an opportunity
     10 A. The lady at the unemployment office.                   10   to explain the basis both for your claim and for
     11 Q. Okay. Anybody else?                                    11   your damages?
     12   A. My attorney --                                       12    A. I've had a great work record, you know. I
     13   Q. Okay.                                                13   had just had 20 years and 7 months in. They put
     14   A. -- like I said, the lady at unemployment,            14   me in a situation that -- I thought I was just
     15 the unemployment commission, and that's about all         15   applying for a job, and I was going to go in there
     16 I recall -- my mother and my friends, Don Woods.          16   and be a normal employee and be able to work.
     17   Q. And do you have a Facebook account?                  17    I did know that vocational rehabilitation
     18 A. Yes, sir.                                              18   helped get me the job. I -- I -- I know that my
     19   Q. How long have you had that?                          19   hearing disability got me this job, but the people
     20   A. I've had it since '09.                               20   and the situation they put me in with the Ginn
     21 Q. And is it still active?                                21   Group supervising me and us taking their jobs,
     22   A. I'm sorry?                                           22   which they knew for sure we was, that I had no
     23   Q. Is it still active?                                  23   knowledge of before I came in.
     24   A. Yes. Yes.                                            24     It should have never happened. I was in a
     25 Q. Right. Do you use it?                                  25   hostile situation to begin with. And you take my
                                                       Page 178                                                       Page 180
      1 A. Yes. Now more than I have since I                1hearing impairment, and people that already don't
      2 haven't been working.                               2 like me, it caused -- it caused me a lot of trouble

      3 Q. Okay. We've made a request for that, as          3 and a lot of pain.
      4 well, so we'll follow up.                           4    And to ruin my great work record and say that
      5 A. You -- you can have it now, if you want.         5  I threatened somebody at 40-some years old that I
      6   Q. Okay. All right. We'll follow up with a        6 didn't over a disagreement that men had at work,

      7 letter on that; okay?                               7 and to make bogus statements and not even read

      8 A. Okay. I tried to do what you asked me to         8 them to terminate me, and not listen to my

      9 do --                                               9 complaints that I went to them so numerous times,
     10 Q. Uh-huh.                                         10 and fought my disability -- I mean, my
     11 A. -- but I can give you my password.              11 unemployment. I'm sorry.
     12   Q. I don't want your password.                   12 And I got behind on my child support, and I
     13   A. It -- it don't matter to me.                  13 no -- and I don't have food. And I have child
     14   Q. I don't -- I don't want it at this time.      14 supporting a son and grandkids, and not be able to
     15   A. Just saying. Okay.                            15 do things, not be able to buy my son pizza, and
     16 Q. If -- if -- if the instructions we gave you     16 borrowing money off my mom. It should never
     17 don't work, we'll figure something else out; okay? 17 have happened.
     18 A. Okay. Okay. I -- I -- it's no big deal to       18 Q. Okay. Let me ask you about this last
     19 me. If you I want my password, you can --          19 document I'll attach as Exhibit 5.
     20   0. 1--                                           20 [WHEREUPON, document referred to is marked
     21 A. -- go through it.                               21 Exhibit 5 for identification.]
     22 0. -- I don't want it. Thank you.                  22 BY MR. JOHNSON:
     23   A. I'm not a computer genius. I'm not real       23    Q. Is that your handwriting?
     24 good at computers.                                 94    A. Yeah.
     25   Q. You're -- you're in good company then.        25    Q. Do you know -- or can you tell me the
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                                                       Page 181                                                       Page 183
      1circumstances     as to how that particular note came         1                 CAPTION
      2  to be?                                                      2         The Deposition of Chris Steven
      3 A. Yes, sir. That note, a person was having                   3   Slaughter, taken in the matter, on the date, and
      4 trouble, and they had a disability. And they                  4   at the time and place set out on the title page
      5 couldn't -- you know, some people can't talk. And             5   hereof.
      6 with the situation that they put us in -- and I told          6        It was requested that the deposition be
      7 them if they had any problem, and if anybody                  7   taken by the reporter and that same be reduced to
      8 needed somebody to talk to. .                                 8   typewritten form.
      9    Q. Who was the person that you gave that                   9        It was agreed by and between counsel
     10 to?                                                          10   and the parties that the reading and signing of the
     11 A. I don't know -- recall his name. It was an                11   transcript of said deposition be, and the same is
     12 employee that had trouble with his disability.               12   hereby, waived.
     13    Q. Was it somebody that you worked with?                  13
     14    A. No. No.                                                14
     15    Q. How do you know that --                                15
     16    A. Somebody in another department.                        16
     17    Q. How did you know he was having trouble?                17
     18    A. Because he was outside one day on                      18
     19 lunch, and he said that -- you know, that -- I don't         19
     20 even remember it. So much has went on, so I can't            90
     21 tell you specifically, but I gave him my number,             21
     22 and I said if they needed someone to talk to. ..             22
     23       MR. JOHNSON: Mr. Slaughter, I believe                  23
     24 those are all the questions I have. Thanks for               24
     25 your time today.                                             25

                                                          Page 182                                                       Page 184
      1       MR. BOYLAN: I have no questions.                        1             CERTIFICATE OF REPORTER
      2   [WHEREUPON, the Deposition of Chris Steven                  2   STATE OF KENTUCKY AT LARGE:
      3   Slaughter concludes at 1:32 p.m.]                           3     I, ROSE MARY KITHCART, RPR, Notary
      4                                                               4   Public for the State of Kentucky at Large, do
      5                                                               5   hereby certify that the foregoing was reported by
      6                                                               6   stenographic and mechanical means, which matter
      7                                                               7   was held on the date, and at the time and place
      8                                                               8   set out in the caption hereof and that the
      9                                                               9   foregoing constitutes a true and accurate
     10                                                              10   transcript of same.
     11                                                              11     I further certify that I am not related to any of
     12                                                              12   the parties, nor am I an employee of or related to
     13                                                              13   any of the attorneys representing the parties, and
     14                                                              14   I have no financial interest in the outcome of this
     15                                                              15   matter.
     16                                                              16     GIVEN under my hand and Notarial seal this
     17                                                              17               day of                         ,2014.
     18                                                              18
     19                                                              19   My Commission Expires:         Notary Public
     20                                                              20
     21                                                              21   AUGUST 27, 2017
     22                                                              22
     23                                                              23   Notary ID: 494347
     24                                                              24
     25                                                              25

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                                                      Revised 03/08




                       CODE OF CO ITJCT T                                       ING


         Employee Name:                  1*         Skid
                                              (Please Print)

         Position


         Work Location:


         I have received, read, and understand the Code of Conduct, or have had the Code of

         Conduct read to me. I understand that compliance is a condition of employment and I

         also understand that GCE will take appropriate disciplinary action, including termination,

         for the violation of the principles and practices set forth in the Code of Conduct

         handbook.


         Employee Signatur


         Date:               1/




                                                                                              mom
                                                                                                    EXHIBIT
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                                                                                            Revised 03/08




           CREATING RESPECT IN THE WORKPLACE
                   NON-HARASSMENT TRAINING


         r,   Cqns Shoc n  (Please Print))
                                                     , have received training and written

         materials on preventing and reporting harassment, including sexual harassment, in the

         workplace.


         Employee's Signature:


         Date:
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                                           Employee Handbook
          Air -                            Acknowledgment
       '4141
       I have received a copy of the GCE Employee Handbook. I understand that it is my
       responsibility to read and comply with the provisions of this handbook as well as any
       changes, additions, and/or deletions that are issued in writing and made part of the
       handbook during my employment with GCE.


       I am fully aware that my supervisor, manager, and/or a Human Resource
      Representative of GCE are all willing to explain any portion of the handbook, which I
      may wish to discuss, or about which I have a question.



      Employee's Name (printed):


      Employee's Name (signature):


      Date:   /I- /— It

                                                                      Org. 1/14/02
                                                                      Rev. 12/02, 5/10
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                         Workplace Etiquette Training




               nrk                00( 14 k r
                         (Please Print)
                                                   , have received training and written


       materials on proper workplace behaviors and etiquette.




       Employee's Signature


       Date:   11-141
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